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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA                       MEMORANDUM AND ORDER

             - against -                        10-CR-627 (S-2)(KAM)

 COURTNEY DUPREE,

                Defendant.
 --------------------------------X

 MATSUMOTO, United States District Judge:

             On December 30, 2011, after a jury trial, defendant

 Courtney Dupree (“defendant”) was convicted of a conspiracy to

 commit bank fraud, bank fraud, and two counts of making a false

 statement in connection with a complex $18 million scheme to

 defraud Amalgamated Bank by obtaining or attempting to obtain

 loans on the basis of false financial statements and other

 material misrepresentations between January 2007 and July 2010.

 Presently before the court are Mr. Dupree’s motions for a

 judgment of acquittal pursuant to Federal Rule of Criminal

 Procedure 29 (“Rule 29”), or alternatively, a new trial pursuant

 to Federal Rule of Criminal Procedure 33 (“Rule 33”).              For the

 reasons set forth below, Mr. Dupree’s motions are denied.

                                 BACKGROUND

 I.    The Charges Against Mr. Dupree

             Mr. Dupree, a Wharton Business School graduate and the

 chief executive officer of GDC Acquisitions, LLC (“GDC”), was


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 charged in all five counts of a five-count Second Superseding

 Indictment.     (See ECF No. 295, Second Superseding Indictment

 (“S-2 Indictment”).)        Count One charged Mr. Dupree with

 Conspiracy to Commit Bank, Mail, and Wire Fraud in violation of

 18 U.S.C. §§ 1349, 3551 et seq.           (Id. ¶¶ 18-19.)     Count Two

 charged Mr. Dupree with Bank Fraud in violation of 18 U.S.C.

 §§ 2, 1344, 3551 et seq.       (Id. ¶¶ 20-21.)       Counts Three and Four

 charged Mr. Dupree with Making a False Statement on or about

 January 6, 2010 and May 24, 2010, respectively, by “willfully

 overvalu[ing] property and security, for the purpose of

 influencing the action of Amalgamated Bank upon one or more

 loans” in violation of 18 U.S.C. §§ 2, 1014, 3551 et seq.                 (Id.

 ¶¶ 22-25.)      Finally, Count Five charged Mr. Dupree with an

 additional count of Bank Fraud in violation of 18 U.S.C. §§ 2,

 1344, 3551 et seq.      (Id. ¶¶ 26-27.)1

             Thomas Foley, GDC’s outside counsel and subsequently

 its general counsel and chief operating officer, was also

 charged in Counts One, Two, and Four of the S-2 Indictment.

 Rodney Watts, GDC’s chief financial officer (“CFO”) and chief

 investment officer, was charged in Counts One through Four of

 the S-2 Indictment.      Mr. Foley went to trial with Mr. Dupree and

 was acquitted of all charges, and Mr. Watts’ trial was stayed

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               Because Count Five was not tried at trial and was stayed pending
 an appeal before the Second Circuit, the court will not discuss the
 allegations underlying Count Five. (See Trial Transcript (“Tr.”) 21-23.)


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 pending a Second Circuit appeal and is currently scheduled to

 begin on March 11, 2013.

             The core of the fraud charges in the S-2 Indictment

 are that Mr. Dupree, together with others, deliberately engaged

 in a scheme to defraud Amalgamated Bank (“Amalgamated) by

 falsely overstating accounts receivable figures on borrowing

 base certificates provided to Amalgamated, which were used to

 determine the amount that GDC’s subsidiaries could borrow from

 Amalgamated in any given month.          (Id. ¶¶ 8-17.)      Additionally,

 it was alleged that Mr. Dupree further defrauded Amalgamated by

 having GDC covertly purchase Image Lighting, Inc. in violation

 of the loan agreement with Amalgamated, and concealing the

 purchase from Amalgamated.       (Id. ¶ 15.)     Finally, the S-2

 Indictment charged Mr. Dupree with attempting to obtain

 approximately $5 million in funding from C3 Capital, LLC (“C3

 Capital”), a private equity investment firm, by submitting false

 financial statements and accounts receivable aging reports to C3

 Capital that fraudulently inflated GDC’s accounts receivable.

 (Id. ¶ 16.)


 II.   The Trial and Jury Verdict

             After jury selection on December 5, 2011, trial

 commenced with opening statements the following day on December

 6, 2011.    The government presented evidence over the course of


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 the next two weeks and rested its case on December 20, 2011.

 Mr. Dupree then presented a defense case over the next week

 consisting of, inter alia, character witnesses as well as his

 own testimony, and Mr. Foley also presented an expert witness in

 legal ethics.     After Mr. Dupree and Mr. Foley rested their cases

 on December 27, 2011, the parties gave their closing arguments

 on December 28 and 29, 2011.       Finally, on December 29, 2011, the

 jury was charged and began deliberations.

             On December 30, 2012, the jury returned its verdict

 finding Mr. Dupree guilty of Counts One through Four and

 acquitting Mr. Foley of all charges.        (See ECF No. 506, Jury

 Verdict.)    Specifically, with respect to Count One, the jury

 found that Mr. Dupree conspired to commit bank fraud but that he

 did not conspire to commit mail or wire fraud.              (Id. at 1.)    The

 jury was retained to determine issues of forfeiture in a

 separate phase of the trial following the guilty verdict.                 See

 Fed. R. Crim. P. 32.2(b)(5).       On January 3, 2012, the jury found

 that Mr. Dupree was liable for a forfeiture money judgment in

 the amount of $18,157,000 as representing proceeds traceable to

 the offenses for which he was convicted, and that the funds in

 eight bank accounts and a tax refund were also subject to

 forfeiture as representing property traceable to those offenses.

 (See ECF No. 511, Special Verdict Sheet for Forfeiture.)



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 III. The Government’s Case-in-Chief

             The case against Mr. Dupree involved a month-long

 trial with the testimony of over 25 witnesses, hundreds of

 exhibits consisting of emails and lengthy financial documents,

 and recorded conversations made by a government cooperator.

 Given the complexity of the fraud scheme, the immense volume of

 evidence presented at trial, and the “heavy burden” faced by Mr.

 Dupree in challenging the sufficiency of the evidence supporting

 his conviction, the court will not attempt to summarize all the

 evidence supporting Mr. Dupree’s conviction but will highlight

 the most compelling evidence – which is quite extensive - from

 which the jury could find beyond a reasonable doubt the

 essential elements of the crimes charged.          See United States v.

 Davis, 690 F.3d 127, 131-32 (2d Cir. 2012).           In summarizing the

 evidence at trial, the court is mindful that “[i]n reviewing a

 challenge to the sufficiency of the evidence underlying a guilty

 verdict, [the court] ‘must review the evidence in the light most

 favorable to the government, drawing all reasonable inferences

 in its favor.’”     United States v. Cain, 671 F.3d 271, 302 (2d

 Cir. 2012) (quoting United States v. Gaskin, 364 F.3d 438, 459

 (2d Cir. 2004)).

             As discussed below, in addition to the physical and

 documentary evidence presented, the majority of the government’s

 case is based on the testimony of three former employees of GDC

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 who cooperated with the government and pleaded guilty to

 participating in a conspiracy to commit bank fraud with Mr.

 Dupree.    These former employees include (1) Emilio Serrano,

 GDC’s former assistant comptroller; (2) Irma Nusfaumer, GDC’s

 former comptroller; and (3) Frank Patello, GDC’s former CFO.

 All three of these former employees face a maximum prison

 sentence of 30 years at sentencing for their participation in

 the bank fraud conspiracy.

       A.   GDC and Its Subsidiaries

             At all relevant times between January 2007 and July

 2010, Mr. Dupree was the chief executive officer and nearly sole

 owner of GDC.2    (Tr. 412, 1973, 2215.)        GDC was a holding company

 that had three wholly-owned primary operating subsidiaries, all

 of which were acquired by GDC prior to 2007:            (1) JDC Lighting,

 LLC (“JDC Lighting”), which sold commercial lighting fixtures

 for commercial property; (2) Unalite Electric and Lighting, LLC

 (“Unalite”), a lighting maintenance company for corporations and

 other large enterprises; and (3) Hudson Bay Environments Group,

 LLC (“Hudson Bay”), which sold commercial office furniture to

 schools, hospitals, and government entities (GDC, together with

 JDC Lighting, Unalite, and Hudson Bay, the “Company”).               (Tr.

 376-78, 416-417, 1367, 1974.)        As of April 2007, GDC’s offices
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                Mr. Dupree testified that another entity called HDL Enterprises
 owned approximated one to two percent of GDC. (Tr. 3670-71.) The record
 does not reflect whether Mr. Dupree had an ownership interest in HDL
 Enterprises.

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 were located in Long Island City in Queens, New York.               (Tr.

 1696-97.)

        B.   Obtaining the Loans from Amalgamated Bank

             In or around April or May of 2008, George Jarvis, a

 loan officer for Amalgamated, first became aware of GDC and met

 with Mr. Dupree, Mr. Watts, and Mr. Patello regarding a possible

 loan to the Company.        (Tr. 1971-73, 2229.)     At the time of that

 meeting, Mr. Watts was GDC’s chief investment officer and Mr.

 Patello was GDC’s CFO.       (Tr. 1973, 2229.)      In connection with

 this meeting, Mr. Dupree and his employees provided Amalgamated

 with information concerning the financial condition of the

 Company, including audited financial statements, accounts

 receivable reports3, aging reports, backlog reports, and

 acquisition documents for companies acquired, such as Hudson

 Bay.    (Tr. 1974, 2229-31.)

             In connection with a loan application by the Company,

 Amalgamated was provided the draft consolidated financial

 statements of the Company for the period ending December 31,

 2007, which were prepared by an independent auditor based on

 information provided by the Company (the “2007 Financial

 Statement”).    (Government Exhibit (“GX”) 148; Tr. 1975-77.)              The

 2007 Financial Statement represented that “[t]he Company

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                Accounts receivable or “A/R” is a term for the money that is
 owed to a company by a customer for goods delivered or services rendered to
 the customer. (Tr. 344-45, 440, 1978, 1986.) Accounts receivable are listed
 on the balance sheet of a company as an asset. (Tr. 440.)

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 recognizes revenue at the time products are delivered to

 customers or when maintenance services are provided” (the

 “Revenue Recognition Policy”).       (GX 148 at 7.)         Mr. Jarvis

 testified that the 2007 Financial Statement, particularly the

 Revenue Recognition Policy, the net income figures, and the

 availability of collateral, played an important role in

 Amalgamated’s decision to loan money to the Company.              (Tr. 1977-

 78, 1992.)    Specifically, the Revenue Recognition Policy was

 important because when the Company booked a sale and recognized

 revenue, it created a receivable that was collateral for the

 Amalgamated loan.     (Tr. 1978.)    Additionally, net income was

 important because it showed that the Company was viable, was

 growing its equity base, and had the ability to generate cash

 flow to repay a loan.       (Tr. 1978-79.)

             Mr. Patello testified that the 2007 Financial

 Statement falsely reported the Company’s net income to be

 approximately $1.547 million when it was only half that amount,

 or approximately $720,000, and that Mr. Dupree and Mr. Watts

 knew about this false figure prior to the submission of the 2007

 Financial Statement to Amalgamated.          (Tr. 2231-34, 2240-43.)

 Furthermore, Irma Nusfaumer testified that, at the direction of

 Mr. Patello, she submitted reports to Amalgamated personnel in

 connection with the loan application process that included

 accounts receivable for products that had not yet been delivered

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 to customers, in violation of the Revenue Recognition Policy.

 (Tr. 1288-90.)     Mr. Jarvis testified that, had he known in

 August 2008 that the Company was recognizing revenue before

 products were delivered, he would not have recommended a loan

 because such a practice would indicate that the books and

 records of the Company were not being maintained in accordance

 with Generally Accepted Accounting Principles (“GAAP”).              (Tr.

 2064-65.)    In other words, according to Mr. Jarvis, the practice

 of recognizing accounts receivable for products that had not yet

 been delivered increased the risk of the bank relying on “false

 collateral.”     (Id.)

             In or around November 3, 2008, after Amalgamated had

 extended the loans described below, Amalgamated received the

 final version of the 2007 Financial Statement, which contained

 the same Revenue Recognition Policy and net income figures as

 the draft statements provided in connection with the loan

 application.     (Tr. 1980-81, 2245-46; GX 188.)

       C.    The Terms of the Loans

             Mr. Dupree signed the loan agreement dated August 29,

 2008 (the “Loan Agreement”) on behalf of JDC Lighting, Unalite,

 and Hudson Bay (the “Borrower Subsidiaries”), and on behalf of

 GDC as guarantor, pursuant to which Amalgamated extended two

 loans to the Borrower Subsidiaries:        (1) a $2.5 million three-

 year term loan, which was to be repaid via monthly payments of

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 $41,666.67 plus interest with an approximate one million dollar

 balloon payment at the end of the three-year term (the “Term

 Loan”); and (2) an $18.5 million revolving loan or line of

 credit, pursuant to which the Borrower Subsidiaries could borrow

 up to $18.5 million (the “Revolving Loan”).           (Tr. 1982-84; see

 generally GX 8 (the Loan Agreement).)

            In connection with these loans, the Borrower

 Subsidiaries’ accounts receivable and inventory served as

 collateral that Amalgamated could collect in the event the

 Borrower Subsidiaries failed to repay the loan in accordance

 with the Loan Agreement.      (Tr. 1991-92.)      The Loan Agreement

 also restricted the use of loan proceeds to (1) repay

 outstanding indebtedness to Steelcase, Inc., a creditor of the

 Company, and PNC Bank, the Company’s former lender; (2) working

 capital to assist in financing the expansion of the principal

 businesses, capital expenditures, and general corporate

 purposes; and (3) payment of fees and expenses in connection

 with the loans.    (Tr. 1993; Loan Agreement § 1.07.)           Although

 GDC was not a borrower under the Loan Agreement, it guaranteed

 all the obligations of the Borrower Subsidiaries in connection

 with the Loan Agreement.      (Tr. 1983; Loan Agreement § 1.08; see

 also GX 8 (the Guarantee Agreement (DOJ-GDC-000000637-44).)

            The maximum amount that could be borrowed under the

 Revolving Loan was calculated using a formula based on the

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 Borrower Subsidiaries’ “eligible” accounts receivable (“Eligible

 A/R”) and inventory (“Eligible Inventory”).           (Tr. 1985-86.)      The

 Loan Agreement defined “Account Receivable” as “any right of any

 Borrower to payment for goods sold or services rendered, whether

 now existing or hereafter arising,” and “Inventory” as “all

 finished goods, raw materials and other merchandise of the

 Borrowers . . . held for sale.”       (Loan Agreement § 8.01.)

 Specifically, the Borrower Subsidiaries could borrow up to (1)

 75% of the Eligible A/R, which excluded, inter alia, accounts

 receivable recognized from “bill and hold” or deferred shipment

 transactions and accounts receivable that had not been paid in

 full within 120 days after the invoice date, and (2) 50% of

 Eligible Inventory, which excluded, inter alia, obsolete,

 defective, or damaged inventory.         (Tr. 1986-87; Loan Agreement

 §§ 1.01(a), 8.01.)     The rationale underlying the exclusion of

 accounts receivable older than 120 days was that such accounts

 receivable were unlikely to be collected and could not serve as

 “healthy” collateral to secure the loan.          (Tr. 1987-88.)

            The total amount that could be borrowed on the

 Revolving Loan at any time pursuant to the formula described

 above is called the “Borrowing Base,” which is essentially the

 amount of collateral available to secure the loan.             (Tr. 1985-

 86; Loan Agreement § 8.01.)      The minimum payment the Borrower

 Subsidiaries were required to make for the Revolving Loan

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 consisted of the interest on the outstanding principal balance

 on a monthly basis, a payment the Borrower Subsidiaries made

 each month.    (Tr. 1989-90.)     If, at any given time, the

 outstanding balance exceeded the Borrowing Base, Amalgamated

 could require the Borrower Subsidiaries to repay the excess

 amount so that the outstanding balance would not exceed the

 Borrowing Base.     (Id.)4

            The Borrower Subsidiaries were also required to

 provide a borrowing base certificate (“BBC”) to Amalgamated on a

 monthly basis that calculated the Borrowing Base, reported the

 Eligible A/R and Eligible Inventory figures, and listed the

 amount available under the line of credit, which was the

 Borrowing Base less the outstanding balance.            (Tr. 1990-91; Loan

 Agreement § 5.01(j); GX 11 (BBCs).)          Every one of the BBCs

 submitted to Amalgamated was signed by either Mr. Patello, Mr.

 Dupree, and/or Mr. Watts, and stated in relevant part:

       The Undersigned [Mr. Dupree, Mr. Patello, and/or Mr.
       Watts] of GDC Acquisitions, LLC (the “Company”), do
       hereby certify to Amalgamated Bank (the “Bank”),
       intending that the Bank rely on this [Borrowing Base]

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                For example, based on the formula prescribed in the Loan
 Agreement, assuming there is no Eligible Inventory, if the Borrower
 Subsidiaries had $100,000 in accounts receivable in January, but $20,000 of
 that amount was attributable to an invoice for products delivered that had
 not been paid within 120 days of the invoice date, Eligible A/R would consist
 of $80,000. The Borrower Subsidiaries could then borrow up to 75% of that
 amount, or $60,000, which would be the Borrowing Base under the Revolving
 Loan. If the Borrower Subsidiaries did in fact borrow $60,000 in January,
 but the Borrowing Base decreased to $40,000 in February due to fewer sales,
 the Borrower Subsidiaries would be required to pay $20,000 to Amalgamated to
 ensure that the principal amount borrowed did not exceed the Borrowing Base.
 (See Tr. 1986-90.)

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       Certificate in extending credit to the Company, that
       based upon the books and records of the Company and
       its subsidiaries which are true and correct as of [the
       relevant date], the following items of the Company and
       its subsidiaries on a consolidated basis were as set
       forth below:

 (GX 11.)   From the BBC, it could also be determined whether the

 outstanding balance on the Revolving Loan exceeded the Borrowing

 Base.   (See id.)   Attached to the BBCs was an aging report that

 showed the due date of each accounts receivable used to

 calculate the Borrowing Base and whether or not such accounts

 receivable were more than 120 days old.          (Tr. 2039-40, 2048; see

 Loan Agreement § 5.01(j).)

            Additionally, the Loan Agreement contained negative

 covenants stating that the Borrower Subsidiaries “shall not,

 directly or indirectly”: (1) “[c]onsolidate with, be acquired

 by, or merge into or with any Person . . . except in the

 ordinary course of business” (Loan Agreement § 6.03); or (2)

 “[m]ake any loan or advance to, or enter into any arrangement

 for the purpose of providing funds or credit to, or make any

 other investment, by capital contribution or otherwise, in or

 with any Person” except for a money market or investment account

 at Amalgamated or “extensions of credit in the nature of

 accounts receivable or notes receivable” (id. § 6.04).              Mr.

 Jarvis, who negotiated these provisions, testified that they

 prevented the Borrower Subsidiaries from buying or investing in


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 any other companies without permission from Amalgamated.               (Tr.

 1997.)     For example, if one of the Borrower Subsidiaries

 consolidated its business with that of a multi-million dollar

 company in another state, Mr. Jarvis testified that such a

 transaction would be a violation of § 6.03 of the Loan

 Agreement.     (Tr. 2150.)    Furthermore, if one of the Borrower

 Subsidiaries used $400,000 of loan proceeds to buy another

 company’s intangible assets, Mr. Jarvis testified that such a

 transaction would violate § 6.04 of the Loan Agreement.               (Tr.

 2155.)     Finally, the Loan Agreement required that the Borrower

 Subsidiaries maintain a Debt to Net Worth Ratio of not more than

 3-to-1 and Earnings before Interest, Taxes, Depreciation, and

 Amortization (“EBITDA”) of $5.5 million or greater per fiscal

 year.      (Loan Agreement § 6.08(a)-(b); see also Tr. 2473-74.)

       D.    The Image Lighting Acquisition Transaction

                 On June 30, 2008, Mr. Dupree sent an email to Mr.

 Foley, then GDC’s outside counsel, attaching a letter of intent

 to purchase Image Lighting, Inc. (“Image Inc.”), a lighting

 company owned by Jim McCarthy that was located in East

 Rutherford, New Jersey, for $800,000 (the “Image Transaction”).

 (Tr. 445, 449-50, 452; GX 53.)        In this email, Mr. Dupree

 instructed Mr. Foley to draft a “simple asset purchase

 agreement” and stated that “[t]he only nuance is that we will

 acquire the company in two pieces”:          (1) a newly formed company

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 called “TDC” will acquire the intangible assets of Image Inc.,

 such as customer lists and goodwill; and (2) the employees of

 Image Inc. will be hired by GDC under a separate newly formed

 company called Image Lighting Services, LLC (“Image Lighting”).

 (GX 53; see also Tr. 452-53, 965.)          Specifically, Mr. Dupree

 informed Mr. Foley that “[w]e are not taking the A/R and A/P

 [accounts payable], which will stay with the company,” and

 explained that this acquisition structure “is not really as

 confusing as it sounds and there is a business reason behind the

 somewhat convoluted structure.”       (GX 53.)     Mr. Serrano, at the

 instruction of Mr. Dupree, Mr. Watts, and Mr. Patello, conducted

 due diligence on Image Inc. prior to August 2008 to determine

 whether or not it was a good company to purchase.             (Tr. 445-46,

 2248-49, 2256-57.)

            Consistent with the instructions in Mr. Dupree’s June

 30, 2008 email, Mr. Foley formed three new companies in New

 Jersey in November 2008 in connection with the contemplated

 Image Transaction:     (1) TDC Acquisitions LLC (“TDC”), which is

 wholly-owned by GDC (Tr. 456; GX 4); (2) Image Lighting, which

 is wholly-owned by TDC (Tr. 454-55; GX 5); and Interconnect

 Lighting LLC (“Interconnect”), which is wholly-owned by Mr.

 Dupree’s fiancé, Stephanie Horton, who is listed as the sole

 member/manager of Interconnect despite not having any role in

 its management (Tr. 481-82; GX 85).          The registered office for

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 TDC, Image Lighting, and Interconnect all have the same address,

 which is the address of Mr. Foley’s law firm, Foley, Perlman,

 and Campbell, LLC, in Hoboken, New Jersey.           (Tr. 455-56, 481; GX

 4, GX 5, GX 85.)     Because Image Lighting was owned by TDC, which

 was owned by GDC, Mr. Dupree, as the owner of GDC, also owned

 Image Lighting.     (Tr. 458.)

            On December 5, 2008, approximately three months after

 the Amalgamated loans were executed, Mr. Foley’s law firm sent a

 check to Image Inc. for the acquisition in the amount of

 $790,000, comprised of funds from the concentration account at

 Amalgamated in the name of Hudson Bay, one of the Borrower

 Subsidiaries of GDC (the “Concentration Account”), and from Mr.

 Dupree personally.     (Tr. 459-62, 2871-75; GX 450.)5

            The Image Transaction was not disclosed on any of the

 Company’s financial statements and Amalgamated was never

 informed of the Image Transaction because, after a conversation

 among Mr. Dupree, Mr. Patello, and Mr. Watts, it was determined

 that it would not be in the Company’s best interest to inform

 Amalgamated of the transaction due to the fact that it was

 prohibited by the Loan Agreement.         (Tr. 588, 2249-51, 2255,

 2273-74, 2320.)     Specifically, Mr. Patello testified that Mr.

 Dupree told him that the Image Transaction was not permitted

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                The Concentration Account was an account maintained at
 Amalgamated through which (1) the Borrower Subsidiaries received loan
 proceeds from the bank and (2) interest and other payments were made on the
 Revolving Loan from customer payments received by the Company. (Tr. 460-61.)

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 under the terms of the Loan Agreement with Amalgamated and a

 prior loan agreement with another senior lender, MVC Capital.

 (Tr. 2255; see also Tr. 1297-98.)          As a result, Mr. Dupree, Mr.

 Watts, and Mr. Patello told Mr. Serrano to keep the Image

 Transaction a “secret.”       (Tr. 446-47.)

            Accordingly, several efforts were made to conceal the

 Image Transaction from Amalgamated and no public disclosure

 regarding the transaction was made.          (Tr. 1478-80.)      First, in

 an effort to conceal from outside auditors the fact that

 $400,000 in Amalgamated loan proceeds were used to purchase

 Image Inc., Mr. Patello and Ms. Nusfaumer arranged a convoluted

 series of four $400,000 transfers among various bank accounts,

 including that of Interconnect.6          (Tr. 463-73, 479-80, 2874-78;

 GX 449.)   The net effect of these four transactions was zero,

 with the Concentration Account still having contributed $400,000

 in loan proceeds toward the purchase of Image Inc., and thus the

 sole purpose of these transactions was to conceal the Image

 Transaction from Amalgamated.        (Tr. 2874-78; GX 449.)




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                The transfers consisted of the following: (1) a December 26,
 2008 wire transfer of $400,000 from the Concentration Account at Amalgamated
 to an Interconnect bank account at Chase (Tr. 469, GX 442 at 1); (2) a
 December 26, 2008 withdrawal of $400,000 from Interconnect’s Chase bank
 account to Foley’s law firm (Tr. 469, GX 442 at 3); (3) a December 29, 2008
 deposit of $400,000 from Foley’s law firm to JDC Lighting’s bank account at
 Amalgamated (Tr. 470-72, GX 346 at 2); and (4) a $400,000 transfer from JDC
 Lighting’s bank account at Amalgamated to the Concentration Account (Tr. 472-
 73, GX 83).

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            Second, Mr. Serrano, in consultation with Mr. Patello,

 altered the legal bills of Mr. Foley, GDC’s attorney on the

 Image Transaction, to remove any references to Image Lighting or

 to an employment agreement between Jim McCarthy, Image Inc.’s

 former owner, and JDC Lighting, to ensure the Image Transaction

 would not be disclosed to outside auditors.           (Tr. 491-95, 2276-

 77; GX 6.)    Mr. Serrano later destroyed the altered legal bills

 after they had been reviewed by the auditors.            (Tr. 495.)

            Third, although the operations of Image Lighting were

 consolidated with that of JDC Lighting after the Image

 Transaction (Tr. 2349-50, 2443, 2610-11), Image Lighting was

 falsely portrayed as a customer of JDC Lighting to outside

 creditors, including Amalgamated, and was listed as a customer

 of JDC Lighting in its books (Tr. 485).          Indeed, JDC Lighting

 falsely booked accounts receivable owed to it by Image Lighting

 to perpetuate the false depiction of Image Lighting as a

 customer of JDC Lighting, and Interconnect was used as a shell

 company to pay down JDC Lighting’s accounts receivable for Image

 Lighting so that Amalgamated would not be alerted to Image

 Lighting’s true ownership.       (Tr. 485-86, 782-83, 1297-98.)7




             7
                (See Tr. 485 (Mr. Serrano: “So we would send the money to
 Interconnect, and then Interconnect would send the money to Image Lighting,
 and Image Lighting would send the money back to JDC so that we could write
 down the accounts receivable that was sitting in JDC’s books for Image
 Lighting.”).)

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            Due to concerns by expressed by Mr. Dupree, a Post

 Office Box (“P.O. Box”) for Image Lighting was also established

 in Mt. Arlington, New Jersey to receive audit confirmations8 so

 that it would be appear that Image Lighting had a separate

 office from GDC and JDC Lighting, like any other customer.                 (Tr.

 500-02, 538-541, 786-88.)       Both Mr. Dupree and Mr. Patello also

 signed checks on behalf of Image Lighting, and when a $500,000

 check signed by Mr. Patello on behalf of Image Lighting bounced,

 Mr. Jarvis of Amalgamated immediately called Mr. Dupree to

 inquire why Mr. Patello was signing checks on behalf of Image

 Lighting, a purported customer.        (Tr. 541-42, 547-49, 1297-

 1303.)   In order to conceal Image Lighting’s true ownership, Mr.

 Dupree lied to Mr. Jarvis and told him that Mr. Patello had

 accidentally signed the check after Mr. McCarthy left the check

 on Mr. Patello’s desk during a visit to GDC’s offices.              (Tr.

 548-49, 1301-03; see also GX 364 (Recording 3-5) (Mr. Watts

 stating that Mr. Dupree “had to come up with some cock-and-bull

 story, and I mean it was literally bullshit, it was literally

 outrageous,” to explain the bounced check signed by Mr.

 Patello).)


            8
                Generally, audit confirmations are used during an audit to
 obtain evidence from third parties regarding assertions that have been made
 by a client’s management with respect to its financial statements. Here,
 audit confirmations were sent to Image Lighting in approximately February or
 March of 2010 to confirm the amount of accounts receivable associated with
 Image Lighting that were on the books of JDC Lighting. (Tr. 540-41.)


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            Additionally, in August 2009, after being directed,

 prepared, and trained by Mr. Dupree and Mr. Watts, Mr. Serrano

 falsely portrayed himself as a fictional Image Lighting employee

 named “Ernest Sullivan” using a disposable cell phone in a call

 with a potential creditor, C3 Capital, whose representative

 wanted to speak with JDC Lighting’s customers in connection with

 performing due diligence on the Company for a potential loan.

 (Tr. 610-15, 631-36, 1958-65; see GX 37, GX 124, GX 271.)                Prior

 to the call with C3 Capital, Mr. Dupree and Mr. Watts called Mr.

 Serrano into Mr. Watts’ office, which was more private than Mr.

 Serrano’s cubicle in the middle of the office.               (Tr. 613-15.)

 Mr. Dupree and Mr. Watts then held a mock interview in which

 they pretended to be C3 Capital employees and questioned Mr.

 Serrano acting as an employee of Image Lighting to see what his

 answers would be to C3 Capital’s questions regarding the

 business relationship between JDC Lighting and Image Lighting.

 (Id.)   After the mock interview, Mr. Dupree and Mr. Watts

 “critiqued” Mr. Serrano’s answers and instructed him to falsely

 tell C3 Capital that Image Lighting and JDC Lighting had a good

 relationship and that Image Lighting would continue doing

 business with JDC Lighting through 2009 and 2010.               (Tr. 614-15.)

            Subsequently, on August 5, 2009, using a telephone

 number for Ernest Sullivan provided by Mr. Patello via an email

 dated August 4, 2009 (GX 124), Jared Poland of C3 Capital called

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 and spoke with Mr. Serrano believing that he was speaking with

 an individual named Ernest Sullivan of Image Lighting (Tr. 1960-

 63).9   As documented in notes Mr. Poland took to memorialize the

 telephone conservation, Mr. Poland testified that “Mr. Sullivan”

 – or Mr. Serrano - told him that Image Lighting had been a

 customer of JDC Lighting for two years, that JDC Lighting’s

 management was “great” and responsive to Image Lighting’s needs,

 and that Image Lighting’s “pipeline in New York and New Jersey

 is still full.”     (Tr. 1964-65.)     Mr. Serrano testified that,

 after he was asked to fake the identity of “Ernest Sullivan” to

 maintain the false appearance of Image Lighting as a customer of

 JDC Lighting, he “understood that [he] was committing fraud by

 doing all these lies for the company.”          (Tr. 637-38.)10

               Significantly, as discussed above, although the

 Company did not purchase any of Image Inc.’s accounts

 receivables but only its intangible assets, Mr. Serrano falsely


             9
                In an email dated July 27, 2009 from Mr. Patello to Mr. Poland,
 on which Mr. Dupree and Mr. Watts are copied, Mr. Patello attempts to deter
 Mr. Poland from reaching out to Image Lighting by stating that “[o]ur contact
 person at Image is out of the country for at least the next 2 weeks on
 vacation and is probably not reachable – do you want to select a different
 customer.” (GX 271.) Mr. Poland, however, responds that “[s]ince Image is a
 large JDC customer, we would still like to talk to them even if it is
 delayed.” (Id.) This email provides further evidence of Mr. Dupree’s
 knowledge and participation in deceiving creditors and potential creditors as
 to the true relationship between Image Lighting and JDC Lighting.
             10
                The head of information technology for the Company, James
 Bowden, also provided Mr. Serrano with a fake Image Lighting email address
 for “Ernest Sullivan” so that he could be contacted by C3 Capital and respond
 to any of its questions as a representative of Image Lighting, but the only
 communication between Mr. Serrano as “Ernest Sullivan” and C3 Capital was by
 phone. (Tr. 631-34.)

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 recorded approximately $2 million of Image Inc. accounts

 receivables on the books of JDC Lighting, ultimately at the

 direction of Mr. Dupree.      (Tr. 496-99, 902-03, 2325-27, 2267-

 70.)    These false accounts receivable could never be collected

 by the Company because they were actually retained by Image Inc.

 and its former owner, Mr. McCarthy.         (Tr. 496-97, 902-03, 2270,

 2325-27; see also Tr. 1466-68.)       The effect of this false

 listing of accounts receivable was to increase the Eligible A/R

 and thus the Borrowing Base under the Loan Agreement, thereby

 permitting the Borrower Subsidiaries to borrow approximately

 $1.5 million more under the Revolving Loan than they would have

 been able to without the additional $2 million in accounts

 receivable.    (Tr. 498.)

        E.   Inflation of Accounts Receivable in 2009 and 2010

             The government presented evidence that Mr. Dupree and

 his coconspirators falsely overstated the Eligible A/R on BBCs

 submitted to Amalgamated, which had the effect of maintaining

 the Borrowing Base at an artificially high level and thus

 falsely increasing the amount that could be borrowed under the

 Revolving Loan.    Even if no additional borrowing was requested

 on the Revolving Loan after it was originally disbursed (see GX

 11), by falsely maintaining the Borrowing Base at a higher level

 than the outstanding amount on the Revolving Loan, Mr. Dupree

 and his coconspirators ensured that the Borrowing Subsidiaries

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 would not have to repay the principal amount on the loan when it

 would have otherwise fallen below the Borrowing Base.

            Mr. Dupree was actively involved in the submission of

 the false BBCs to Amalgamated.        In 2009, Mr. Patello provided

 Mr. Dupree, Mr. Watts, and Ms. Nusfaumer with handwritten

 summaries on an almost monthly basis reconciling the financial

 information reported to Amalgamated in the most recent BBC –

 which contained overstated accounts receivable figures - with

 the true state of the financial affairs of the Company.                (Tr.

 2335-38; see GX 258 (07/31/09), GX 259 (05/31/09), GX 260

 (04/30/09), GX 261 (03/31/09), GX 262 (02/28/09), GX 281

 (01/31/09), GX 292 (08/31/09), GX 293 (09/30/09).)11             For

 example, the handwritten summary dated January 31, 2009 (GX

 281), which was provided to and discussed with Mr. Dupree,

 indicates, inter alia, that the Eligible A/R reported in the BBC

 for January 31, 2009 (GX 11 (DOJ-GDC-000005227)) was overstated

 to such an extent that the Company had borrowed $7.6 million in

 excess of what it would have been able to borrow had accurate

 accounts receivable figures been reported in the BBC.              (Tr.


            11
                The dates in parentheses indicate the date for which the
 relevant BBC was submitted. (Tr. 2337-38.) For example, GX 281 is dated
 “01/31/09,” and is reconciling the numbers reported to Amalgamated for the
 BBC as of January 31, 2009 (GX 11 (DOJ-GDC-000005227)) with the true state of
 the Company’s books on that same date. Mr. Patello also testified that the
 figures in these handwritten summaries were generally recorded in the
 thousands, and that three zeroes should be added to the end of each figure.
 (Tr. 2338.) Thus, a four-digit number indicated an amount in the millions.
 (Id.)


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 2338-45.)    Mr. Patello also testified that the “All Accounts

 Receivable” figure of $24,903,342 reported in the BBC for

 November 30, 2009 was inflated by approximately $11 million.

 (Tr. 2376; GX 11 (DOJ-GDC-000005234).)

              The evidence at trial established that the inflation

 of accounts receivables in the BBCs and the back-up materials

 submitted to Amalgamated was accomplished primarily via three

 methods:     (1) fictitious sales; (2) prebilling; and (3)

 reaging.12    In the end, although each of these methods can be

 distinguished from one another, the government’s evidence

 established that they all have the same purpose – to falsely

 inflate the accounts receivable figures submitted to Amalgamated

 in order to maintain or increase the amount of money that could

 be borrowed on the Revolving Loan.          Each of these inflationary

 methods will be discussed in turn.

              1.   Fictitious Sales

              The government presented evidence at trial that

 millions of dollars of accounts receivables were recorded on

 BBCs submitted to Amalgamated for fictitious sales.             (Tr. 2325.)

 First, as previously discussed, Mr. Dupree directed Mr. Patello

 to falsely book approximately $2 million of accounts receivables

             12
                Evidence regarding other methods of inflating the accounts
 receivables was also presented to the jury. For instance, the jury heard
 about “unapplied cash,” which is when cash collected from a customer for a
 sale would not be applied to reduce the amount of receivables, thus inflating
 the receivables and allowing the Borrower Subsidiaries to borrow more on the
 loan. (Tr. 686, 2340-41; GX 281, GX 262.)

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 associated with Image Inc. on the books of JDC Lighting.              (Tr.

 2216, 2268.)     Indeed, in the handwritten summary dated January

 31, 2009 provided to Mr. Dupree, Mr. Patello indicated that

 there were $2,043,000 of fake Image Inc. accounts receivables on

 the books of JDC Lighting that were included on the BBC for

 January 31, 2009.     (Tr. 2339; GX 281.)       Mr. Serrano also

 testified that these fictitious Image Inc. accounts receivables

 were included in the accounts receivable figure of $23,549,332

 reported in the consolidated financial statement for 2008 (GX 22

 at 3), which, together with other inflationary practices,

 overstated the accounts receivable by approximately $5 million

 (Tr. 1057-58).

            Second, in the last quarter of 2009, ultimately at the

 direction of Mr. Dupree, Mr. Patello instructed Ms. Nusfaumer to

 copy outdated School Construction Authority (“SCA”) orders with

 Hudson Bay from years in the past, and to create new, fake

 invoices totaling more than approximately $3 million with the

 current date, even though SCA no longer owed Hudson Bay any

 money for those orders.      (Tr. 1330-33, 1336-37, 2538-39.)           Ms.

 Nusfaumer was also instructed to accomplish this task by herself

 so that others would not find out about the fake invoices.               (Tr.

 1331.)   In order to create the invoices in the accounting system

 utilized by GDC and its subsidiaries – known as “Hedberg” (Tr.

 660) - without alerting Hudson Bay employees that had access to

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 all of Hudson Bay’s orders and would have known these new SCA

 invoices were fake, Ms. Nusfaumer listed a former Unalite

 employee named “Eric Leroy” as the salesperson associated with

 the orders rather than a current Hudson Bay employee.               (Tr.

 1332, 1804-06, 2711.)

            After these fake invoices were created in Hedberg,

 Mark Jozefowski, the former senior vice president and general

 manager of Hudson Bay, recognized that certain of SCA’s past

 orders with Hudson Bay were being replicated in the accounting

 system with a different order number and a different salesperson

 - Eric Leroy - who never worked at Hudson Bay.               (Tr. 1804-09.)

 Mr. Jozefowski thus sought an explanation from Mr. Patello

 regarding “what [Mr. Jozefowski] affectionately called ‘garbage’

 in the system,” and Mr. Patello then directed him to Mr. Dupree.

 (Tr. 1809.)    Mr. Dupree explained that the invoices were created

 to “bring the sales from Image Lighting into our system” and

 were “needed to recognize the sales,” and that the orders would

 be reversed once Image Lighting was more fully incorporated into

 the Company.    (Tr. 1810.)    During this conversation, Mr.

 Jozefowski voiced his concern to Mr. Dupree that these new fake

 invoices not be sent to SCA, one of Hudson Bay’s best customer

 accounts, because he did not want to receive calls from SCA

 about orders it did not place and “the last thing we would want

 to do was upset that relationship.”         (Tr. 1811, 1859-60.)

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             Ultimately, the fake SCA invoices totaling

 approximately $3 million, which all bore dates from August 2009,

 appeared in the accounts receivable aging report for Hudson Bay

 as of November 30, 2009.       (Tr. 591-92; GX 74 at 10-13 (Invoice

 Nos. 90199-90297).)      Because the fake SCA invoices were less

 than 120 days old, they were included as Eligible A/R in the

 BBCs submitted to Amalgamated, enabling the Borrower

 Subsidiaries to borrow 75% of the total amount of the fake

 invoices.    (Tr. 1337, 2327, 2358, 2538-39.)         Diane Mendez of SCA

 testified at trial that SCA never received the August 2009

 invoices created by Ms. Nusfaumer, which, except for the

 different date and invoice numbers, were the same as SCA

 invoices dating back to 2007 for which SCA had previously paid.

 (Tr. 2840-50; GX 454; see also Tr. 1811-12.)13           Ms. Mendez’s

 testimony thus corroborated that of Ms. Nusfaumer and Mr.

 Patello regarding their efforts to copy old SCA invoices and

 issue new, recent invoices that would not be sent to SCA for

 payment because they represented fictitious additional sales.

             13
                Ms. Mendez prepared a report (GX 454) indicating that the
 August 2009 invoices created by Ms. Nusfaumer had been previously paid for by
 SCA and that the SCA purchase orders for those invoices referenced different
 invoice numbers from prior years. For example, the accounts receivable aging
 report for Hudson Bay as of November 30, 2009 lists invoice 90199 dated
 August 7, 2009 as an SCA order totaling $92,519.11. (GX 74 at 10.) Invoice
 90199 also references SCA purchase order number 734861, which is a number
 that SCA assigned to its purchase order for this order. (Id.) According to
 Ms. Mendez’s report, however, in connection with purchase order 734861, SCA
 paid Hudson Bay $92,519.11 via a check dated September 26, 2007 for invoice
 78926, not invoice 90199. (GX 454.) Thus, invoice 90199 was simply a copy
 of invoice 78926 with a different date.


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 Additionally, Mr. Patello’s handwritten summaries to Mr. Dupree

 dated August 31, 2009 (GX 292) and September 30, 2009 (GX 293)

 indicated that there were $3,076,000 in false accounts

 receivable attributable to SCA.14

            Third, the jury heard evidence regarding approximately

 $500,000 in fictitious sales to Columbia University Facilities

 (“Columbia”) that were recorded in the accounts receivable aging

 report for Hudson Bay as of November 30, 2009.               Specifically, in

 or around late January and early February 2010, Mr. Patello

 provided Mr. Dupree with a year-end handwritten reconciliation

 for 2009 that had a notation stating “Columbia Double Billed

 501.”   (Tr. 2365; GX 273 at 4 (DOJ-SW-GDC000014572).)              Mr.

 Patello testified that this notation meant that there were

 approximately $500,000 in sales associated with Columbia that

 were erroneously booked as $1 million, but that were left on the

 books as $1 million despite knowledge of the error by Mr. Dupree

 so that the Borrower Subsidiaries could borrow against the

 larger amount.     (Tr. 2325-26, 2372-73, 2490.)

            Similarly, agents of Henegan Construction (“Henegan

 Construction”) and Bedford Stuyvesant Family Health Center


            14
                At some point before Mr. Patello left GDC in March 2010, Mr.
 Patello had convinced Mr. Dupree to reverse a portion of the fictitious SCA
 invoices, and Mr. Patello subsequently instructed Ms. Nusfaumer to reverse
 the accounts receivable. (Tr. 1338-39.) After Ms. Nusfaumer had effected
 the reversal, she had a conversation with Mr. Dupree in which he was upset
 that the reversal had negatively affected the income statement. (Tr. 1339-
 40.)

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 (“Bedford Stuyvesant”), customers of JDC lighting and Hudson

 Bay, respectively, testified and provided certifications that

 they never received invoices that were included in the aging

 reports and Eligible A/R calculations for BBCs submitted to

 Amalgamated.    (Tr. 1529-35, 1568-72; GX 246, GX 247).            For

 instance, the aging report for JDC Lighting as of April 30,

 2010, which was submitted in connection with the BBC for April

 30, 2010, listed invoice 52642 dated April 5, 2010 for Henegan

 in the amount of $412,595.30 (GX 75 at 8 (DOJ-FC-GDC00005314)),

 even though Henegan had not done any business with JDC Lighting

 since 2008 and had never done any business in an amount greater

 than $250,000 (Tr. 1533-34; GX 247).         Additionally, the aging

 report for Hudson Bay as of April 30, 2010, which was also

 submitted in connection with the BBC for April 30, 2010,

 contained invoice 91985 dated March 17, 2010 for Bedford

 Stuyvesant in the amount of $539,590.08 (GX 76 (DOJ-FC-

 GDC00005387)), even though no such invoice was received by

 Bedford Stuyvesant (Tr. 1572; GX 246).

            2.    Prebilling

            Prebilling occurred at the Company when an accounts

 receivable figure was recorded on the books for a sales invoice

 prior to the delivery of a product or the performance of a

 service and prior to sending a bill to the customer, which was

 in violation of the Revenue Recognition Policy.              (Tr. 2324-25.)

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 The jury heard evidence from numerous witnesses of several

 instances of prebilling that were used to inflate the Eligible

 A/R in the BBCs, which was also documented in Mr. Patello’s

 handwritten summaries provided to Mr. Dupree and in several

 emails.    (See, e.g., Tr. 735-36, 642-43, 1308-11, 1351, 1813,

 2329-31, 2339; GX 88, GX 94, GX 258-62, GX 281.)

             For example, on May 19, 2009, Mr. Dupree wrote an

 email to Mr. Jozefowski with the subject “Frank needs another

 $700k in billing!!!” and stating in the text that “I need this

 done.     Come talk to me if this isn’t possible.”           (GX 265.)     Mr.

 Patello testified that this email was a direct result of a

 conversation that he and Mr. Dupree had prior to Mr. Dupree

 sending the email.     (Tr. 2352.)    During that conversation, Mr.

 Patello “informed [Mr. Dupree] that in order to meet the BBC

 [for April 2009], i.e., keep our borrowing at the level we

 required, we needed an additional $700,000 in sales.              Since

 there were no billings available, we were looking for orders

 that we could prebill, and Mr. Dupree issued this [email] to Mr.

 Jozefowski.”     (Tr. 2352-54.)    In response to Mr. Dupree’s email,

 Mr. Jozefowski stated that “[w]e pushed about 1.3 million that

 wasn’t ready to hatch 30 days ago . . . . we booked close to

 another 2 mill since then that has been billed already.”                 (GX

 265.)     Mr. Patello testified that Mr. Jozefowski’s figures

 referred to prebilling.      (Tr. 2353.)     Notably, the BBC for April

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 30, 2009 was signed by Mr. Patello on May 20, 2009, the day

 after Mr. Dupree sent this email to Mr. Jozefowski.             (GX 11

 (DOJ-GDC-000005219).)

            Additionally, the jury heard evidence that Zwicker

 Electric (“Zwicker”), a customer of JDC Lighting, never received

 two invoices, one totaling $587,925.01 dated March 29, 2010

 (Invoice No. 52617) and one totaling $1,375,000 dated April 21,

 2010 (Invoice No. 52632) (Tr. 1516; GX 245), even though both

 invoices were included on the accounts receivable aging report

 for JDC Lighting as of April 30, 2010 (GX 75 at 23).              In a

 recording dated June 23, 2010, Mr. Serrano and Mr. Watts

 discussed altering Zwicker invoice 52617, and Mr. Serrano

 testified that he or one of his staff members created the

 invoice so that $587,925 could be included in the calculation of

 the Borrowing Base, even though the invoice was never sent to

 Zwicker.   (Tr. 817-21; GX 404 (Recording 14-1).)            Ms. Rohrssen

 of Zwicker also testified that Zwicker worked on a project with

 JDC Lighting involving approximately $1.375 million for the

 Staten Island Courthouse – the same amount as invoice 52632 -

 but that the project was never consummated and that JDC Lighting

 never delivered any products in connection with that project.

 (Tr. 1516-17.)

            Notably, in an email dated August 19, 2009,

 approximately eight months prior to the date of the April 21,

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 2010 invoice relating to the Staten Island Courthouse, Mr. Watts

 wrote the following in an email to Mr. Patello, copying Mr.

 Dupree:     “Per Courtney . . . We have a P.O. from Zwicker for

 Staten Island Courthouse ($1.325MM); if necessary, bill it.”

 (GX 285.)     Mr. Patello testified that Mr. Watts was instructing

 him to prebill the $1.325 million purchase order from Zwicker if

 it was necessary to meet the Borrowing Base and the sales

 projections that had been promised to C3 Capital.             (Tr. 2361-

 62.)   Accordingly, the $1.325 million Zwicker invoice for the

 Staten Island Courthouse was first contemplated to be used to

 inflate the Eligible A/R in August 2009, before it was

 ultimately used for that purpose several months later, even

 though the project never came to fruition.

             In the 2009 year-end handwritten summary that Mr.

 Patello provided to Mr. Dupree in or around late January and

 early February 2010, Mr. Patello wrote the following:

        We need at least 7 mil in 12/09 sales on top of USW
        [Unalite Southwest], UES [Unalite Energy Services] &
        UNY [Unalite New York] in order to keep tabs with our
        11/09 BBC - good news!! that should get us to 4 mil
        EBITDA - Bad news there is nothing in the backlog and
        I still [need] a PO for Columbia 1.2 mil that I booked
        in Oct! We also prebilled 1.6 mil at JDC . . . If we
        are truly talking five million EBITDA for 2009 then we
        need 12 million (not 7 million in sales) – don’t think
        I can really get thru audit with 7 more never mind 12
        more.

 (GX 273; see Tr. 2367-69.)      Mr. Patello testified that this note

 conveyed to Mr. Dupree the following information:             (1) the

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 Company would need another $7 million in additional fake sales

 to maintain the Borrowing Base for November 30, 2009 at the

 current level; (2) if there were $7 million of additional

 billing, EBITDA would rise to $4 million, which would be closer

 to the $5 million requirement of the Loan Agreement; (3) that

 $1.2 million was prebilled for Columbia in October 2009 based on

 a job commitment from a salesperson but no purchase order had

 yet to be received; (4) $1.6 million was prebilled at JDC

 Lighting, which was a considerably higher number than previous

 amounts prebilled at JDC Lighting; and (5) there would need to

 be an additional $12 million in sales to get EBITDA to $5

 million as required by the Loan Agreement, as $7 million in

 additional sales would only get EBITDA to $4 million.              (Tr.

 2367-69.)   With respect to this last point, Mr. Patello

 testified that although he said $12 million in sales was needed

 to get the EBITDA to $5 million, the actual number of sales

 required could have been $9 million or $13 million, but that he

 used $12 million “just really to make a point to say no matter

 what we’ve done in the past, these numbers are just

 astronomical.”    (Tr. 2369.)

             Finally, the government introduced “insider” aging or

 reconciliation reports for Hudson Bay and JDC Lighting.              (See GX

 267 (“insider” aging report for Hudson Bay), GX 268 (“insider”

 aging report for JDC Lighting).)         These reports were used by GDC

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 employees in 2010 to differentiate between the accounts

 receivable on the books that could be collected from customers

 because they involved actual sales for products delivered and

 services rendered, and the accounts receivable on the books that

 could not be collected, at least not yet, due to prebilling or

 fictitious sales used to inflate the Eligible A/R on the BBCs

 submitted to Amalgamated.       (See, e.g., Tr. 650-55, 680-85, 991-

 92, 2465-68.)     In an email dated February 26, 2010, which was

 sent to Mr. Dupree, Mr. Patello described these “insider A/R

 agings” as “show[ing] what is collectible (shipped, installed

 and billed) with their true aging, as well as the receivables on

 the books that have not been installed and those that have not

 shipped.”    (GX 66.)15     A copy of the “insider” aging reports

 were sent to Mr. Dupree via email on March 3, 2010 by Valerie

 Griffin.    (Tr. 2469-71, 2978-81; GX 275, GX 276.)

             3.    Reaging

             Reaging (or refreshing) of accounts receivable

 occurred at the Company when a credit was issued for an old

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                For example, the aging report submitted to Amalgamated for
 Hudson Bay as of November 30, 2009 contained two invoices for Columbia, one
 dated October 16, 2009 for $877,348.02 (Invoice No. 90812) and another dated
 November 6, 2009 for $396,982.97 (Invoice No. 91282). (GX 74 at 20
 (AML0002233).) The “insider” aging report for Hudson Bay included the dates
 of these invoices and their corresponding amounts under a section titled “Not
 Ordered,” which means no order had yet been placed. (Tr. 2956; GX 267 at 41
 (DOJ-GDC-000001065); see Tr. 879-80; 1215-16.) Valerie Griffin, a defense
 witness, testified that the $877,000 Columbia job was “still in [the] quote
 stage” and that the order was not finalized, even though the invoice was
 included on the aging report submitted to Amalgamated as Eligible A/R. (Tr.
 2959-60.) Hugh Horowitz of Columbia also testified that Columbia never
 received invoice 90812 in the amount of $877,348.02. (Tr. 2811-12; GX 452.)

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 sales invoice and the same invoice was re-invoiced with a new

 date and invoice number so that it was more current, thus

 permitting accounts receivable that were otherwise older than

 120 days to be falsely counted as Eligible A/R and not excluded.

 (Tr. 1316, 1318-19, 1625, 1628, 2327-28.)          For example, in one

 of the handwritten summaries provided to Mr. Dupree, Mr. Patello

 advised Mr. Dupree that $413,000 of JDC Lighting’s receivables

 were “credited and rebilled with more current dates.”              (Tr.

 2340-41; GX 281.)

       F.   The Events Surrounding Mr. Patello’s Departure from
            the Company in March 2010

            On Christmas Day, December 25, 2009, Mr. Dupree sent

 Mr. Patello an email stating that “[t]he head count in the

 accounting department has gotten out of hand” and requesting a

 plan for the long-term structure of the accounting department.

 (Mr. Dupree’s Exhibit (“DX”) 122.)          On January 2, 2010, Mr.

 Patello responding, stating, inter alia:

       I had however hoped that you would have at least taken
       all the gyrations and issues I had to face in 2009
       with cash management, reporting and covering bs #’s,
       my time spent with USW and Emilio [Serrano]’s short
       comings into consideration. . . . I do not know that
       you fully understand how much time, energy and effort
       truly is required to cover up all the bs I have to
       take care of in order for us to pass muster. I think
       this is something we really need to go over.      More
       than 50% of my and Irma [Nusfaumer]’s time (and a
       significant amount of Emilio’s time – not talking
       about how good he is at it) is spent covering our
       trail.


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 (Id.)   With respect to the above email, Mr. Patello testified

 that “bs” referred to “prebilling, false billing, inappropriate

 accounting, incorrect accounting,” and that “covering our trail”

 meant “changing the documents, fraudulently correcting them, and

 just to make sure that they looked okay.”          (Tr. 2380; see also

 Tr. 2350.)

             The next day, on January 3, 2010, Mr. Dupree wrote the

 following in response to Mr. Patello’s email, in relevant part:

       I do want to say that I have a FULL understanding of
       how much time you and your team are spending and have
       spent on getting our financials to pass muster. It is
       the bane of my existence! This is why I have spent so
       much time analyzing the budget. As I have said, with
       $70 million in sales conservatively expected in 2010,
       there is no reason why we can’t address the issues
       that have plagued this company. . . . I don’t want to
       spend another year complaining and fielding complaints
       about things not getting done the way they should,
       scrambling for sales at the end of months, burying
       items, and desperately grasping for liquidity where it
       can be had, etc. . . . I’m sure that you feel that I
       was provided the information with your periodic
       updates on the BBC and our cash position.      For me,
       these updates aren’t nearly as illuminating as you
       might think, because it is intuitive to me that you
       run a negative cash position when making investments
       for future positive cash flow (true cash flow, not
       EBITDA). So, your updates saying that cash was tight
       was neither a surprise, not alarming to me. The fact
       that we did not come out of the position in the last
       third and especially the last quarter of the year WAS
       a surprise.

 (DX 122.)    The jury could certainly infer from Mr. Dupree’s

 email that Mr. Dupree was a knowing participant in, if not the

 director of, the fraud conspiracy.          This email also corroborates


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 Mr. Patello’s testimony that he provided Mr. Dupree with

 handwritten “periodic updates on the BBC[s]” (id.) regarding all

 the false billings included on the aging reports submitted to

 Amalgamated (Tr. 2335-48).

            Although Mr. Patello had signed the BBCs submitted to

 Amalgamated for the books of the Company at the end of every

 month between August 31, 2008 and November 30, 2009, the BBC for

 November 30, 2009 was the last BBC that Mr. Patello was willing

 to sign, and he signed it on January 6, 2010.            (Tr. 2478; GX 11

 (DOJ-GDC-000005234).)       Subsequently, Amalgamated did not receive

 BBCs for the months of December 2009 and January through March

 of 2010 (Tr. 2006-07), even though the Loan Agreement required

 BBCs to be submitted every month (Loan Agreement § 5.01(j)).

            In or around February or March 2010, Mr. Serrano and

 Mr. Patello testified that Mr. Dupree handed Mr. Serrano a

 handwritten note (GX 347) listing additional sales that Mr.

 Dupree wanted to include in the books for the 2009 fiscal year,

 all of which involved prebilling (Tr. 697-98; see also Tr. 2473

 (Patello’s testimony that “Emilio handed me this piece of paper

 saying this is Courtney’s guide to how we were going to get

 additional billing and fix our EBIDTA.”)).           This handwritten

 note specified, inter alia, adding a total of $6.25 million in

 billings, including a total of $2.7 million for Hudson Bay as

 well as $600,000 for JDC Lighting in connection with the Staten

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 Island Courthouse, the latter which Mr. Serrano incorporated

 into the books.    (Tr. 697-700; GX 347.)        Indeed, in the aging

 report for JDC Lighting as of April 30, 2010, there is an

 accounts receivable for $587,925.01 associated with a Zwicker

 invoice dated March 29, 2010 (GX 75 at 24 (DOJ-FC-

 GDC000005330)), and Zwicker provided a certification that it

 never received any such invoice (GX 245).          Moreover, as noted

 above, a representative from Zwicker testified that JDC Lighting

 never delivered any products in connection with the Staten

 Island Courthouse because, although the project was

 contemplated, it never happened.         (Tr. 1516-17.)

            In early March 2010, Veronica Finn, the office manager

 and head of human resources for the Company, had a conversation

 with Mr. Foley in which she expressed her concerns regarding

 what was happening in the accounting department.             (Tr. 1705-06.)

 She subsequently arranged a meeting after work, also in early

 March 2010, among herself, Mr. Dupree, Mr. Watts, Mr. Foley, and

 Mr. Patello (the “Executive Meeting”).          (Tr. 1706-07.)      At the

 Executive Meeting, Mr. Patello explained the following:

       [T]hat to get where we were, we had a significant
       prebilling, false billing, costs weren’t recorded,
       accounting records weren’t properly maintained, and
       that in order to even meet the minimum number for the
       December borrowing base, we needed another $7 million.
       That there were no orders on hand to do that. That it
       would have to be totally fabricated . . . . That
       documents would have to be forged, corrected, in order
       to pass muster with the auditors, both shipping and

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       receiving. And that also I wanted to let everyone in
       management know that I was done. That I was going to
       get them passed [sic] the end zone, I guess, which
       were both audits and I was leaving.

 (Tr. 2487-88.)    Similarly, Ms. Finn testified as to what Mr.

 Patello told everyone at the Executive Meeting:

       He said that there had been - - there were
       irregularities   on   our  accounts  receivable   that
       included three levels of misinformation.     The first
       one being prebilling, the second being renaming [or
       reaging], and the third being totally fictitious sales
       that had been put onto the accounting system. . . .
       He said the accounts receivable were not accurately
       stated. And that in - - that we had about $9 million
       of legit sales on the books and the rest of it
       [approximately $11 million] was falling into one of
       these three categories.

 (Tr. 1707-10.)    Specifically, Mr. Patello mentioned at the

 Executive Meeting, inter alia, a duplicated Columbia order

 involving approximately $500,000 and over $1.5 million dollars

 in SCA orders as examples of fictitious sales that were on the

 books.   (Tr. 1707-08, 2489-91.)      As a proposed course of action,

 Mr. Patello suggested restating the Company’s numbers to

 Amalgamated, but Mr. Dupree “was totally opposed to going to the

 bank.    [Mr. Dupree] said, that’s an absolute way of me losing

 this company, and I will not lose this company.”             (Tr. 2490-91;

 see also Tr. 2499.)

            Shortly after the Executive Meeting and another

 conversation among Mr. Dupree, Mr. Watts, and Mr. Patello

 regarding booking additional sales (Tr. 2497-99), Mr. Patello


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 gave Mr. Dupree a letter dated March 12, 2010, which stated the

 following:

       In my opinion, we need to restate both our 2008 and
       2009 financial results to:

       1)   exclude          all     pre-billing         and       related
       transaction[s]

       2)   properly record all costs, including trailing
       costs and accruals, including commissions and PM bonus

       3)   consolidate the full results of Image Lighting
       2009’s   results   into  GDC, while  reversing  the
       receivables on JDC’s books

       4)   re-age our trade receivables to properly reflect
       the actual date of sale and

       5)   restate   the   BBC’s    and            interim      financial
       statements provided to Amalgamated

 (GX 251; see Tr. 2500-05.)16        Mr. Patello also stated that there

 were $4 million in prebilling included in the 2009 financial

 statements and that he could not participate in a meeting with

 Amalgamated scheduled for March 17, 2010 unless the financial

 reporting issues were resolved.         (GX 251.)      After a meeting with

 Mr. Dupree a few days later, Mr. Patello formally resigned his

 position as CFO and left the Company.           (Tr. 2504-05; GX 252.)

            After he left the Company in March 2010, Mr. Patello

 received calls from Mr. Jarvis of Amalgamated and alerted Mr.


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                In or around early March 2010, Mr. Patello also gave Mr.
 Dupree another document in which he stated that he is stepping down as CFO
 but will continue with the Company until the completion of certain bank
 audits or May 31, 2010, whichever is later. (GX 250; see Tr. 2475-80, 2485-
 86.) In that document, Mr. Patello wrote that GDC can “site [sic] health,
 reorg or whatever reason” for the change in his position. (GX 250.)

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 Dupree.    (Tr. 2507.)      Mr. Dupree told Mr. Patello to avoid Mr.

 Jarvis’s calls by calling him after hours, which Mr. Patello

 subsequently did.     (Tr. 2008, 2507-08.)        Notably, when Mr.

 Jarvis called Mr. Dupree to inquire about why Amalgamated had

 not received any BBCs since the BBC for November 30, 2009, Mr.

 Dupree told Mr. Jarvis that Mr. Patello had been on a leave of

 absence for health issues and that Mr. Watts had assumed his

 duties as CFO.    (Tr. 2007-08; see also GX 158 (Mr. Jarvis

 stating that Mr. Patello “stepped down due to illness”).)

       G.   Meetings with Amalgamated in Spring 2010

            On March 17, 2010, Mr. Dupree, Mr. Watts, and Mr.

 Foley met with Amalgamated representatives including Mr. Jarvis,

 who was concerned about the Company’s search for a new CFO and

 called the meeting to “catch up on financial information”

 regarding the Company because it was behind in its reporting

 obligations under the Loan Agreement.          (Tr. 2010-13.)       At that

 meeting, Mr. Dupree and Mr. Watts said that they would provide

 Amalgamated with the missing BBCs and financial statements as

 soon as possible.     (Tr. 2012.)     After March 17, 2010,

 Amalgamated would not permit any further borrowing on the

 Revolving Loan.     (Tr. 2071.)

            On April 26, 2010, because Amalgamated had not yet

 received a new BBC and no CFO had been hired, Mr. Jarvis visited

 the Company to go over the issues that had not been addressed

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 and met with Mr. Dupree, Mr. Watts, and Mr. Foley.               (Tr. 2017.)

 Mr. Jarvis told Mr. Watts that he would not leave until he

 received a BBC (Tr. 2018), and subsequently Mr. Watts handed Mr.

 Jarvis a BBC for the books of the Company as of April 21, 2010

 that was signed by both Mr. Watts and Mr. Dupree in front of Mr.

 Jarvis (Tr. 2024-25; GX 11 (DOJ-GDC-000005235)).               This BBC had

 an Eligible A/R figure of $22,252,521, which calculated into a

 Borrowing Base of approximately $16.9 million.               (Tr. 2025; GX 11

 (DOJ-GDC-000005235).)       Because approximately $16.7 million was

 outstanding on the Revolving Loan, the Borrower Subsidiaries had

 not exceeded the Borrowing Base and thus no make-up payment had

 to be made.    (Id.)   At the time of this April 26, 2010 meeting,

 Mr. Jarvis was under the belief that Image Lighting was a

 customer of JDC Lighting, based on conversations that Mr. Jarvis

 had with Mr. Dupree and Mr. Watts. (Tr. 2018, 2022, 2042-43.)

            On May 7, 2010, Amalgamated sent the Borrower

 Subsidiaries a letter notifying them that they had defaulted

 under the terms of the Loan Agreement for failing to submit

 balance sheets, BBCs, and accompanying aging reports and other

 documents and failing to maintain EBITDA of at least $5.5

 million.   (Tr. 2036-37; GX 144.)        In May 2010, at the request of

 Amalgamated, a collateral audit of GDC and the Borrower

 Subsidiaries was performed for the period ending December 21,

 2009 that revealed significant accounting irregularities.                (Tr.

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 2044-47; GX 156.)     Specifically, the audit report stated that

 the “A/R agings are full of anomalies, the aging bucket amounts

 appear to be inaccurate as there are numerous irregularities in

 them,” that there is “[p]ossible ‘refreshing’ of the A/R

 agings,” that “past due 120 bucket amounts may be under-stated,”

 and that “A/R collateral aging is ‘Stretched.’”              (GX 156 (DOJ-

 FC-GDC000004824); see Tr. 2047-49.)          Another audit performed in

 June 2010 for the period ending April 30, 2010 also revealed

 similar accounting irregularities.          (Tr. 2052-54; GX 157.)

            On May 24, 2010, Mr. Dupree and Mr. Watts signed a BBC

 for the books as of April 30, 2010.         (GX 11 (DOJ-GDC-

 000005236).)    As discussed previously, the Eligible A/R figure

 of $22,055,798 in this BBC was inflated by millions of dollars

 due to prebilling and reaging.

            On July 15, 2010, about a week before Mr. Dupree was

 arrested, Mr. Dupree, Mr. Watts, and Mr. Foley met with Mr.

 Jarvis and representatives from Amalgamated’s credit department.

 (Tr. 2054.)    Mr. Jarvis had still not received an independent

 financial statement for 2009 by the time of this meeting.               (Tr.

 2056.)   At that meeting, Mr. Dupree made a presentation

 regarding cash flow projections for 2010, specifically a

 projection of $7.1 million in EBITDA.         (Tr. 2059-61; GX 171.)

 The next day, on July 16, 2010, Mr. Watts signed a BBC for the

 Company’s books as of May 31, 2010, which reported $22,637,402

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 in Eligible A/R.    (GX 11 (DOJ-GDC-000005237).)             This was the

 last BBC submitted to Amalgamated.

            Finally, Mr. Jarvis testified that he was never

 informed by Mr. Dupree or anyone else that the Company had

 changed the manner in which it recognized revenue or that the

 Company recognized accounts receivable before product had been

 delivered.    (Tr. 2064.)

       H.   Other Evidence of Fraud After Mr. Patello’s Departure
            from the Company and Prior to Mr. Dupree’s Arrest

            After Mr. Patello left the Company, Mr. Dupree told

 Mr. Serrano in March of 2010 that the Company would not be doing

 any prebilling in the future.       (Tr. 718.)     Mr. Serrano, however,

 testified that this statement was false, that every BBC and

 aging report in the spring of 2010 included prebilling, and that

 Mr. Dupree subsequently requested Mr. Serrano to continue

 prebilling.    (Tr. 718-19, 726.)     Specifically, after Mr. Watts

 gave Mr. Serrano a sales number that the Company’s “financials

 had to hit” due to upcoming bank audits, Mr. Serrano informed

 Mr. Dupree that “the only way we could reach that number was if

 we prebilled, and [Mr. Dupree said], ‘Well, then that’s what

 we’re going to have to do.’”       (Tr. 726-27.)

            In latter half of March 2010, Ms. Nusfaumer also

 became very concerned that, after Mr. Patello left the Company,

 she would be the point person for the bank audits happening


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 later in the spring and that she could get in trouble for all

 the accounting irregularities.         (Tr. 1723.)       On April 9, 2010,

 Ms. Nusfaumer sent an email to Mr. Dupree and Mr. Watts stating

 that she will not participate in the bank audits and that she

 will be forced to leave the Company if management insists that

 she lead the audits.        (GX 91.)   In a subsequent meeting between

 Mr. Dupree, Ms. Nusfaumer, and Ms. Finn, Mr. Dupree said that

 “he felt Ms. Nusfaumer was exaggerating the problem” but that he

 needed her to remain with the Company as assistant comptroller

 so that the Company did not lose two of its top accounting

 personnel.    (Tr. 1726-27; see also Tr. 1354-55.)              Nevertheless,

 shortly thereafter in April 2010, Ms. Nusfaumer resigned from

 the Company because “she didn’t really feel she had an option,”

 and not because of another job.          (Tr. 1354, 1728.)

            On May 18, 2010, Mr. Serrano and Mr. Dupree had a

 conversation that was recorded by Mr. Serrano in which the two

 discussed Mr. Patello’s departure and the first collateral audit

 by Amalgamated.    (GX 363 (Recording 3-4).)            In that recording,

 Mr. Serrano told Mr. Dupree that he would have the $22 million

 in accounts receivable for the April 30, 2010 BBC into the

 system by “the end of today,” and Mr. Dupree confirmed again at

 the end of the conversation whether Mr. Serrano would be

 finished by the “end of day.”          (Id.)    Additionally, Mr. Dupree

 commented that the “bank exam went fine.             It’s a miracle,” which

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 Mr. Serrano understood to mean it was a miracle getting away

 with “so much fraud in the numbers.”         (Id.; Tr. 732-33; see also

 Tr. 1228-32.)    Mr. Dupree stated that auditors are “pencil

 pushers,” and that if “we give [the auditor] the back up, if it

 looks good, it looks like it makes sense . . . and there is

 nothing for [the auditor] to fucking do.”          (GX 363 (Recording 3-

 4).)    Finally, at the end of the recording, Mr. Dupree appeared

 to be reassuring Mr. Serrano as to the future of the Company

 once the bank fraud was completed:

        And I know you’ve struggled with y’know from my
        professional standpoint, and where, where, this leads
        or what have you.   This is going to be fucking fine,
        dude, and I’m not, I don’t stick my head in the sand,
        I’m not oblivious to this shit that’s going out, I
        know what the fuck I’m talking about:   it’s going to
        be fine. Um . . . and once we get passed [sic] this
        we’re never revisiting this shit again.      I don’t
        fucking ever want to go back here.    We will fucking
        fire half of the fucking staff before we revisit this
        shit again. We’re not gonna be prebilling, but we do
        need to get this nailed this financial reporting,
        nailed the fuck down.

 (Id.)    Mr. Serrano testified that the “shit that’s going out”

 was a reference to the “fraud in the financial statements.”

 (Tr. 743.)

            On the same day as the above recording with Mr.

 Dupree, May 18, 2010, Mr. Serrano recorded a conversation with

 Mr. Watts in which they were discussing the accounts receivable

 for the April 30, 2010 BBC, and Mr. Watts asked Mr. Serrano,

 “So, just to be clear:      you are swapping out some of the

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 complete bullshit from 12/31 for some shit in the backlog,

 right?”   (GX 364 (Recording 3-5).)         Mr. Serrano responded in the

 affirmative, and testified that Mr. Watts was directing him to

 fill in the accounts receivable on the aging reports by taking

 items off of the backlog, which are “future billings” or

 prebilled orders that have not yet been delivered.             (Tr. 574,

 1230, 1278-79.)

            On June 3, 2010, Donald Carr, a financial analyst at

 GDC, sent an email to Mr. Dupree, Mr. Watts, Mr. Foley, and Ms.

 Finn stating that he is resigning because he “cannot continue to

 ethically perform my obligations at GDC.” (GX 1A.)

 Specifically, Mr. Carr wrote:       “Unfortunately, over the last few

 months, I have become increasingly uncomfortable with what

 appears to be an irreconcilable difference between our actual

 cash position and the financials we showed at the end of the

 year. . . .    I have particular difficulty understanding our use

 of the AR that was outstanding at 2009 year end.”             (Id.; see

 also Tr. 366 (Mr. Carr:      “My problem was I felt at that time

 that the accounts receivable had to be overstated . . . .”).)

            On the evening of July 15, 2010, the same day as the

 last meeting with Mr. Jarvis of Amalgamated, Mr. Serrano

 recorded a conversation with Mr. Dupree regarding the May 31,

 2010 BBC, and during that conversation, Mr. Serrano asked Mr.

 Dupree for “future billings for ah . . . HBE [Hudson Bay].”                (GX

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 413 (Recording 16-7).)       Mr. Dupree then proceeded to provide Mr.

 Serrano with specific sales numbers for inclusion in the BBC

 that were associated with customer orders that had not been

 delivered – or prebilling.      (Id.; see Tr. 827-38.)         Finally, Mr.

 Dupree stated that, because the Revolving Loan was being paid

 down and the Company could start “posting pretty strong cash

 flow numbers, . . . the point is that it should come close to

 being legit now so, we probably got a little bit, probably got

 another couple of months to go before we completely catch up,

 but it should be pretty close.”       (GX 413 (Recording 16-7); see

 Tr. 836-37.)    Mr. Serrano testified that he believed Mr. Dupree

 made this statement to reassure him that the financial

 statements would soon catch up with the prebilling and that “we

 wouldn’t have to pre-bill any longer at some point in time in

 the future.”    (Tr. 840.)    Mr. Serrano then stayed late at the

 Company that night to implement Mr. Dupree’s directive to enter

 the prebilled accounts receivable into the system and finish the

 financial statements for the May 31, 2010 BBC, which Mr. Watts

 signed the next day on July 16, 2010.         (Tr. 871; GX 11 (DOJ-GDC-

 000005237).)

 IV.   The Defense Case

            Mr. Dupree’s defense case consisted of character

 witnesses, testimony by former GDC employees Martha Xenakis and

 Valerie Griffin, an expert witness, and multiple days of

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 testimony by Mr. Dupree.      The defense theory at trial did not

 contest the existence of false statements in the BBCs (Tr.

 4138), but asserted that Mr. Patello and others, including Mr.

 Serrano and Ms. Nusfaumer, perpetrated the bank fraud without

 any knowledge of or participation by Mr. Dupree (see Tr. 4144,

 4147-48, 4205).    Indeed, defense counsel argued in summation

 that the fraud began when Mr. Patello mistakenly booked the $2

 million of Image Inc. receivables on JDC Lighting’s books and

 borrowed $1.4 million against those receivables on the

 Amalgamated loan, and that Mr. Patello spent the next two years

 trying to fix that accounting error by perpetrating the fraud.

 (Tr. 4149.)    Additionally, defense counsel argued that

 prebilling by itself is not an illegal or improper practice (Tr.

 4146, 4188-89, 4200), and that the Company collected tens of

 millions of dollars on legitimate sales (Tr. 4193-94).              Finally,

 defense counsel argued that Mr. Dupree always intended to pay

 back the Amalgamated loan, and that the false statements were

 included in the BBCs without Mr. Dupree’s knowledge.              (Tr.

 4205.)

 V.    The Instant Motions

            Mr. Dupree first stated his intention to make a Rule

 29 motion on December 20, 2011 at the close of the government’s

 case.    (See Tr. 2902, 3244-45, 3271.)       On December 22, 2011, the

 court heard oral argument on Mr. Dupree’s Rule 29 motion (Tr.

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 3346-54, 3427-59), and reserved a decision on the motion until

 after the jury returned a verdict in accordance with Federal

 Rule of Criminal Procedure 29(b) (Tr. 3459).           After the jury

 returned a guilty verdict, the court provided the parties with

 an opportunity to make written submissions on Mr. Dupree’s Rule

 29 and Rule 33 motions.      (See ECF No. 521-1, Memorandum of Law

 in Support of Defendant’s Motions for Judgment of Acquittal and

 for a New Trial (“Dupree Mem.”); ECF No. 529, Memorandum of Law

 in Response to the Defendant’s Motions for a Judgment of

 Acquittal and for a New Trial (“Gov’t Opp’n”); ECF No. 530,

 Reply in Support of Defendant’s Motions for Judgment of

 Acquittal and New Trial (“Dupree Reply”).)

            Mr. Dupree also filed an unscheduled “amendment” to

 his Rule 29 and 33 motions on August 6, 2012 (see ECF No. 577,

 Mr. Dupree’s Letter Amendment to Rule 29 and 33 Motions (“Dupree

 Amdt.”)), to which the government filed an opposition on August

 20, 2012 (see ECF No. 587, Government’s Opposition to Amendment

 to Rule 29 and 33 Motions (“Gov’t Opp’n to Dupree Amdt.”)).

                                 DISCUSSION

 VI.   The Rule 29 Motion for Acquittal

       A.   The Rule 29 Standard

            Rule 29 provides that, on a defendant’s motion, the

 court “must enter a judgment of acquittal of any offense for

 which the evidence is insufficient to sustain a conviction.”
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 Fed. R. Crim. P. 29(a).      “[W]hen a district court reserves

 decision on a defendant’s Rule 29 motion at the close of the

 Government’s evidence, ‘it must decide the motion on the basis

 of the evidence at the time the ruling was reserved.’”              United

 States v. Truman, 688 F.3d 129, 139 (2d Cir. 2012) (quoting Fed.

 R. Crim. P. 29(b)).      Because the court reserved making a

 decision on Mr. Dupree’s motion on December 22, 2011 (Tr. 3458-

 59), the court will decide the motion based on the evidence

 presented up to that point in the trial.          United States v.

 Velasquez, 271 F.3d 364, 371 (2d Cir. 2001).17

            “A defendant who challenges the sufficiency of the

 evidence supporting his conviction ‘bears a heavy burden.’”               Id.

 at 370.   “Not only must the evidence be viewed in the light most

 favorable to the Government and all permissible inferences drawn

 in the Government’s favor, but the jury verdict must be upheld

 if ‘any rational trier of fact could have found the essential

 elements of the crime beyond a reasonable doubt.’”             United

 States v. Jackson, 335 F.3d 170, 180 (2d Cir. 2003) (citation

            17
                It does not appear that Mr. Dupree intended to renew his Rule
 29 motion for acquittal after the jury verdict pursuant to Rule 29(c).
 Indeed, in his motion papers, Mr. Dupree appears to only argue that the
 government’s case was insufficient to sustain its burden. Nevertheless, the
 court would deny the Rule 29 motion even if the entirety of Mr. Dupree’s
 defense case and his testimony were considered. See United States v.
 Aulicino, 44 F.3d 1102, 1114 (2d Cir. 1995) (“It is true that by testifying
 in his own behalf at trial, a defendant waives his right to have sufficiency
 assessed on the basis of the government’s presentation alone. The
 defendant’s testimony may thus add weight to the government’s case.”
 (citations omitted)); see also Velasquez, 271 F.3d at 371 (2d Cir. 2001)
 (“[A] jury may ‘use its disbelief [of a defendant’s testimony] to supplement
 the other evidence against him.’”).

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 omitted) (quoting Jackson v. Virginia, 443 U.S. 307, 319

 (1979)); see also United States v. Guadagna, 183 F.3d 122, 130

 (2d Cir. 1999) (“[T]he court may enter a judgment of acquittal

 only if the evidence that the defendant committed the crime

 alleged is ‘nonexistent or so meager that no reasonable jury

 could find guilt beyond a reasonable doubt.’”).              In determining

 a Rule 29 motion for judgment of acquittal, the court must “view

 pieces of evidence ‘not in isolation but in conjunction.’”

 United States v. Torres, 604 F.3d 58, 67 (2d Cir. 2010) (quoting

 United States v. Maldonado-Rivera, 922 F.2d 934, 978 (2d Cir.

 1990)).

            In resolving Rule 29 motions, a court should “avoid

 usurping the role of the jury.”       Guadagna, 183 F.3d at 129.          A

 court must “defer to the jury’s assessment of witness

 credibility and the jury’s resolution of conflicting testimony.”

 United States v. Bala, 236 F.3d 87, 93-94 (2d Cir. 2000).

 Moreover, a court cannot “substitute its own determination of .

 . . the weight of the evidence and the reasonable inferences to

 be drawn for that of the jury.”       Guadagna, 183 F.3d at 129

 (internal quotation marks omitted).         Therefore, the jury’s

 verdict will be upheld even when it is based entirely on

 circumstantial evidence.      Jackson, 335 F.3d at 180.         “In fact,

 if the court concludes that either of the two results, a

 reasonable doubt or no reasonable doubt, is fairly possible,

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 [the court] must let the jury decide the matter.”             Guadagna, 183

 F.3d at 129 (internal quotation marks omitted).

       B.   Counts One and Two:      Conspiracy and Bank Fraud

            The jury found Mr. Dupree guilty of both Count One for

 conspiring to commit bank fraud by defrauding Amalgamated and

 Count Two for the bank fraud arising from that conspiracy, in

 violation of 18 U.S.C. §§ 1344 and 1349.

            First, “conspiring to commit bank fraud . . . requires

 ‘knowingly engag[ing] in the conspiracy with the specific intent

 to commit the offenses that were the objects of the

 conspiracy.’”    United States v. Bartee, 301 F. App’x 46, 49 (2d

 Cir. 2008) (quoting United States v. Monaco, 194 F.3d 381, 386

 (2d Cir. 1999)); see United States v. Rosa, 17 F.3d 1531, 1544

 (2d Cir. 1994) (“A conviction for conspiracy must be upheld if

 there was evidence from which the jury could reasonably have

 inferred that the defendant knew of the conspiracy charged in

 the indictment and knowingly joined and participated in it.”).

 The government must also prove that there was an agreement

 between two or more participants to achieve the object of the

 conspiracy, here bank fraud, but “[a] tacit understanding will

 suffice to show agreement for purposes of a conspiracy

 conviction.”    United States v. Amiel, 95 F.3d 135, 144 (2d Cir.

 1996); see United States v. Huezo, 546 F.3d 174, 180 (2d Cir.

 2008) (noting that “[b]oth the existence of a conspiracy and a

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 given defendant’s participation in it with the requisite

 knowledge and criminal intent may be established through

 circumstantial evidence” (internal quotation marks omitted)).

 Notably, “[t]he traditional deference accorded to a jury’s

 verdict is especially important when reviewing a conviction for

 conspiracy . . . because a conspiracy by its very nature is a

 secretive operation, and it is a rare case where all aspects of

 a conspiracy can be laid bare in court with the precision of a

 surgeon’s scalpel.”     Jackson, 335 F.3d at 180 (internal

 quotation marks omitted).

            Second, the bank fraud statute states as follows:

       Whoever knowingly executes, or attempts to execute, a
       scheme or artifice--
          (1) to defraud a financial institution; or
          (2) to obtain any of the moneys, funds, credits,
       assets, securities, or other property owned by, or
       under the custody or control of, a financial
       institution, by means of false or fraudulent
       pretenses, representations, or promises;
       shall be fined not more than $ 1,000,000 or imprisoned
       not more than 30 years, or both.

 18 U.S.C. § 1344.     Although a proof of a violation of either

 subsection of Section 1344 is sufficient to support a

 conviction, United States v. Crisci, 273 F.3d 235, 239 (2d Cir.

 2001), the jury found Mr. Dupree guilty under both subsections,

 (see ECF No. 506, Jury Verdict).

            “In order to show bank fraud, the government must

 prove that defendant (1) engaged in a course of conduct designed


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 to deceive a federally chartered or insured financial

 institution into releasing property; and (2) possessed an intent

 to victimize the institution by exposing it to actual or

 potential loss.”     Crisci, 273 F.3d at 239-40 (internal quotation

 marks omitted).18    Additionally, “the government must prove that

 the defendant engaged in a deceptive course of conduct by making

 material misrepresentations.”       United States v. Rigas, 490 F.3d

 208, 231 (2d Cir. 2007) (emphasis added); see also Neder v.

 United States, 527 U.S. 1, 16 (1999) (“[A] false statement is

 material if it has ‘a natural tendency to influence, or [is]

 capable of influencing, the decision of the decisionmaking body

 to which it was addressed.’”)).        Importantly, “actual or

 potential loss to the financial institution need not be proven,

 so long as there is evidence that the defendant intended to

 expose the institution to such loss.”         United States v. Laljie,

 184 F.3d 180, 189 (2d Cir. 1999).         The fact that a defendant

 believes (rightly or wrongly) that ultimately no harm or loss

 will be suffered by the bank does not negate criminal intent




             18
                The parties stipulated at trial that at all relevant times
 Amalgamated was a financial institution as used in 18 U.S.C. § 1344 and that
 its deposits were insured by the Federal Deposit Insurance Corporation. (Tr.
 1970-71.)


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 where some real and immediate harm or loss is contemplated.

 United States v. Stathakis, 320 F. App’x 74, 76 (2d Cir. 2009).19

            As detailed above, viewing the evidence in the light

 most favorable to the government, drawing all reasonable

 inferences in its favor, and leaving credibility determinations

 to the jury, there was an abundance of evidence from which a

 jury could find beyond a reasonable doubt that Mr. Dupree

 conspired with others to defraud Amalgamated and that he

 committed bank fraud.       The testimony of Mr. Patello, Mr.

 Serrano, and Ms. Nusfaumer, all of whom admitted to

 participating in a bank fraud conspiracy, was largely

 corroborated by documentary evidence and recorded conversations.

 Their testimony, by itself, was certainly enough to support Mr.

 Dupree’s conviction for Counts One and Two.           See Truman, 688

 F.3d at 139 (“We have explained that even the testimony of a

 single accomplice witness is sufficient to sustain a conviction,

 provided it is not ‘incredible on its face,’ or does not ‘def[y]

 physical realities.’” (citations omitted)).




            19
               See also United States v. Rossomando, 144 F.3d 197, 201 (2d
 Cir. 1998) (“[W]here a defendant deliberately supplies false information to
 obtain a bank loan, but plans to pay back the loan and therefore believes
 that no harm will ‘ultimately’ accrue to the bank, the defendant’s good-faith
 intention to pay back the loan is no defense because he intended to inflict a
 genuine harm upon the bank – i.e., to deprive the bank of the ability to
 determine the actual level of credit risk and to determine for itself on the
 basis of accurate information whether, and at what price, to extend credit to
 the defendant.”).


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            Indeed, the evidence at trial directly established Mr.

 Dupree’s knowledge and active participation in the conspiracy to

 defraud Amalgamated from before Amalgamated extended the loans

 in August 2008 and until Mr. Dupree’s arrest in July 2010.               In

 2008, Mr. Dupree had a conversation with Mr. Patello and Mr.

 Watts about a net income figure that was inflated by more than

 $700,000 and that was ultimately provided to Amalgamated in the

 2007 Financial Statement in order to obtain the loan.

            After the loans were extended, the jury heard evidence

 of Mr. Dupree’s leadership in working with Mr. Patello, Mr.

 Serrano, and others to conceal the Image Transaction from

 Amalgamated due to his belief that it was prohibited by the Loan

 Agreement and to falsely portray Image Lighting as a customer of

 JDC Lighting.    Specifically, among other things, Mr. Dupree (1)

 instructed Mr. Foley to acquire Image Inc. “in two pieces” by

 forming shell corporations, (2) directed Mr. Serrano to

 establish a P.O. Box in New Jersey for Image Lighting to

 maintain the appearance that it had an office separate and apart

 from the Company, (3) coached Mr. Serrano on how to pose as a

 fictional employee of Image Lighting in order to falsely inform

 a potential lender about a purported business relationship

 between Image Lighting and JDC Lighting, and (4) lied to Mr.

 Jarvis of Amalgamated about a bounced Image Lighting check that

 Mr. Patello had signed.      Indeed, Mr. Dupree’s efforts were

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 successful because, even in the spring of 2010, Mr. Jarvis

 believed that Image Lighting was a customer of JDC lighting

 based on conversations he had with Mr. Dupree, Mr. Patello, and

 others regarding amounts owed by Image Lighting to JDC Lighting.

             The jury also heard extensive evidence regarding

 successful efforts in 2009 and 2010 by Mr. Dupree, Mr. Patello,

 Mr. Serrano, Ms. Nusfaumer, and others to falsely inflate the

 Eligible A/R on BBCs submitted to Amalgamated by millions of

 dollars using fictitious sales, prebilling, and reaging.              These

 efforts had the effect of maintaining the amount that could be

 borrowed on the Revolving Loan – the Borrowing Base - at a much

 higher level than would have been the case had the Eligible A/R

 been accurately disclosed.      In essence, by falsely inflating the

 Borrowing Base by millions of dollars, Mr. Dupree and his

 coconspirators deceived Amalgamated by causing it to loan money

 – or maintain a loan - based on false collateral, thereby

 exposing it to actual or potential loss.

             At discussed above in the summary of the government’s

 evidence, the evidence at trial showed that Mr. Dupree himself

 was actively involved in falsely inflating the accounts

 receivable in 2009 and 2010.       First, Mr. Dupree directed Mr.

 Patello to falsely book approximately $2 million of accounts

 receivables associated with Image Inc. on the books of JDC

 Lighting.    Second, throughout 2009, Mr. Dupree received

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 handwritten summaries on an almost monthly basis from Mr.

 Patello detailing the type and amounts of millions of dollars of

 false accounts receivables included in the monthly BBCs and

 aging reports submitted to Amalgamated.          Third, after consulting

 with Mr. Patello, Mr. Dupree sent an email in May 2009 asking

 Mr. Jozefowski for $700,000 in orders that could be prebilled

 for inclusion in the BBC for April 2009.          (GX 265.)

 Additionally, in the last quarter of 2009, Mr. Dupree

 specifically had a conversation with Mr. Jozefowski in which Mr.

 Dupree explained the need for more than $3 million of fictitious

 accounts receivable associated with SCA that were created by Ms.

 Nusfaumer at the direction of Mr. Patello and included on the

 November 30, 2009 BBC.      Fourth, at the direction of Mr. Dupree,

 Mr. Watts sent an email in August 2009 to Mr. Patello

 instructing him to prebill a $1.325 million order for the Staten

 Island Courthouse if it was necessary to stay in formula with

 the BBC.   Subsequently, $1.375 million in accounts receivable

 associated with the Staten Island Courthouse were ultimately

 included in the BBC for the books as of April 30, 2010, even

 though the project had been abandoned.          Fifth, in or around

 February or March 2010, Mr. Dupree handed Mr. Serrano a

 handwritten note listing $6.25 million in prebilling that Mr.

 Dupree wanted to include in the books for the 2009 fiscal year,

 including $600,000 for the Staten Island Courthouse.              (Tr. 697-

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 98; GX 347.)    Finally, in a recording in July 2010, Mr. Dupree

 provided Mr. Serrano with prebilling to include in the BBC for

 the books as of May 31, 2010.       (Tr. 827-38; GX 413 (Recording

 16-7).)

            After the Executive Meeting at which Mr. Patello fully

 disclosed the nature and extent of the fraud and attempted to

 convince Mr. Dupree to restate the Company’s financials to

 Amalgamated, Mr. Dupree continued to meet with Mr. Jarvis and

 other Amalgamated representatives on multiple occasions in the

 spring of 2010.    Instead of restating the Company’s financials

 or disclosing the material inaccuracies in the BBCs and

 accompanying aging reports, Mr. Dupree lied to Mr. Jarvis about

 the reasons for Mr. Patello’s departure from the Company and

 evaded his promises to Mr. Jarvis to provide missing BBCs and

 financial statements as soon as possible.          The jury could infer

 from Mr. Dupree’s failure to disclose the fraud during these

 meetings that Mr. Dupree knew that his conduct was unlawful and

 that he possessed the intent to continue to expose Amalgamated

 to actual or potential loss from loans based on false

 collateral.    Ultimately, when Mr. Jarvis would not leave the

 Company’s offices without receiving a BBC, Mr. Watts handed Mr.

 Jarvis a BBC for the books as of April 21, 2010 that was signed

 by both Mr. Dupree and Mr. Watts in front of Mr. Jarvis.              Then,

 on May 24, 2010, Mr. Dupree and Mr. Watts signed a BBC for the

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 books as of April 30, 2010 that falsely inflated the Eligible

 A/R by millions of dollars.      As Mr. Jarvis testified at trial,

 he was never informed by Mr. Dupree or anyone else that the

 Company recognized accounts receivable before product had been

 delivered, and he would not have recommended a loan that relied

 on accounts receivable associated with prebilling because such a

 practice rendered the accounts receivable to be “false

 collateral” and increased the risk to the bank.              (Tr. 2064-65.)

            Finally, as detailed in the summary of the

 government’s evidence, the jury could infer that Mr. Dupree

 possessed the requisite intent to commit bank fraud from his own

 incriminating admissions in emails and recorded conversations

 and his reassurances to Mr. Serrano that everything was going to

 end up fine.    (See, e.g., DX 122 (“I don’t want to spend another

 year complaining and fielding complaints about things not

 getting done the way they should, scrambling for sales at the

 end of months, burying items, and desperately grasping for

 liquidity where it can be had, etc.”); GX 363 (Recording 3-4)

 (stating that it was a “miracle” the “bank exam went fine”); id.

 (“I don’t stick my head in the sand, I’m not oblivious to this

 shit that’s going out, I know what the fuck I’m talking about:

 it’s going to be fine.      Um . . . and once we get passed [sic]

 this we’re never revisiting this shit again.           I don’t fucking

 ever want to go back here.      We will fucking fire half of the

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 fucking staff before we revisit this shit again.              We’re not

 gonna be prebilling, but we do need to get this nailed this

 financial reporting, nailed the fuck down.”); GX 413 (Recording

 16-7) (“the point is that it should come close to being legit

 now so, we probably got a little bit, probably got another

 couple of months to go before we completely catch up, but it

 should be pretty close.”).)

            Several of these admissions indicate that Mr. Dupree

 knew that what he was doing was wrong and that he was trying to

 fix the problems with the Company so that the fraud could become

 a thing of the past.        Even if, however, the jury believed that

 Mr. Dupree ultimately intended no harm to Amalgamated because he

 was going to fully pay back the loans – which is an inference in

 favor of Mr. Dupree and not the government, the jury could

 reasonably infer that Mr. Dupree intended some real and

 immediate harm or potential loss to Amalgamated in the short-

 term, which is sufficient to sustain his convictions.               See

 Rossomando, 144 F.3d at 201.

            In support of his Rule 29 motion, Mr. Dupree primarily

 relies on a single case, United States v. Starr, 816 F.2d 94 (2d

 Cir. 1987), in which the Second Circuit reversed defendants’

 convictions for mail and wire fraud on a Rule 29 motion.               (See

 Dupree Mem. at 16-28.)       In the Starr case, the indictment

 alleged that the defendants engaged in a scheme to defraud

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 customers of their “lettershope” business “by means of ‘burying’

 higher rate mailings in lower rate bulk mailings and failing

 either to pay the postal service the correct postage due or to

 refund the excess funds to their customers.”           Starr, 816 F.2d at

 95.   The evidence presented at trial established that:             (1) the

 customers individually calculated the postage due for their

 mailings and wrote a check to the defendants’ business for the

 cost of necessary postage; (2) the defendants took the

 customers’ mail to the post office, concealed higher postage

 rate mail inside bulk rate mailing sacks, and paid a lower

 postage rate than that paid by the customers; (3) the defendants

 pocketed the difference between the postage paid by the

 customers and the lower postage paid to the postal service

 without informing customers; and (4) the defendants sent

 customers fraudulent postal receipt forms to avoid detection of

 the scheme.    Id. at 96-99.    The Second Circuit reversed the

 convictions, finding that “[t]he agreement for the timely

 shipment and handling of bulk mail was the basis of the bargain

 between the [defendants] and their customers,” which was

 performed by the defendants, and that the defendants “in no way

 misrepresented to their customers the nature or quality of the

 service they were providing.”       Id. at 99.     In a concurring

 opinion, Judge Newman noted that the government erred by

 indicting the defendants for defrauding their customers rather

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 than the postal service, which the defendants defrauded by

 paying less than the proper amount of postage.               Id. at 101-02

 (Newman, J., concurring).

            Unlike Starr, the government here indicted Mr. Dupree

 for defrauding the correct entity – Amalgamated, the creditor of

 his businesses.    The Loan Agreement specifically provided that

 the Borrower Subsidiaries could only borrow up to 75% of the

 Eligible A/R, which served as collateral to secure the loan.

 Mr. Dupree and his coconspirators, however, undermined that

 fundamental basis of the Loan Agreement by reporting wholly

 fictitious, inflated, and prebilled accounts receivable to

 Amalgamated, thus intending to cause actual or potential loss to

 the bank by depriving it of the collateral it had bargained for

 to secure the loan.     Although Mr. Dupree argues that the

 government failed to establish that prebilling is itself an

 illegal or improper practice or that a company must adhere to

 the revenue recognition policy disclosed in its financial

 statements (see Dupree Mem. at 20-25), the government presented

 ample evidence that the practice of prebilling in this case - as

 conducted by Mr. Dupree and his coconspirators – deceived

 Amalgamated by falsely inflating the accounts receivable on

 which Amalgamated relied for collateral for the loan.               Indeed,

 the Loan Agreement itself precluded the Borrower Subsidiaries

 from recognizing accounts receivable for “bill and hold” or

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 “deferred shipment” transactions (Loan Agreement § 8.01), which

 is precisely what Mr. Dupree and his coconspirators did – with

 the exception that no bill was even sent to the customer.

            On the basis of all of this evidence, viewed in the

 light most favorable to the government and drawing all

 inferences in its favor, the jury could find beyond a reasonable

 doubt that Mr. Dupree was guilty of Count One because he

 conspired with at least one other person, Mr. Patello, Mr.

 Serrano, Ms. Nusfaumer, and/or others, to commit bank fraud and

 possessed the specific intent to commit bank fraud.

 Additionally, with respect to Count Two, the jury could find

 beyond a reasonable doubt that Mr. Dupree engaged in a course of

 conduct designed to deceive Amalgamated into making or

 maintaining loans by means of materially false representations,

 and that he possessed the intent to expose Amalgamated to actual

 or potential loss from making or maintaining loans based on

 false collateral.     Accordingly, the court denies Mr. Dupree’s

 Rule 29 motion with respect to Counts One and Two because the

 government presented sufficient evidence at trial to support

 those convictions.

       C.   Counts Three and Four:        Making a False Statement to a
            Federally Insured Bank

            Counts Three and Four of the S-2 Indictment charged

 Mr. Dupree with making a false statement to Amalgamated on or


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 about January 6, 2010 and May 24, 2010, respectively, in

 violation of 18 U.S.C. §§ 2 and 1014.         (S-2 Indictment ¶¶ 22-

 27.)   “Section 1014 criminalizes ‘knowingly making any false

 statement or report . . . for the purpose of influencing in any

 way the action’ of a Federal Deposit Insurance Corporation

 (FDIC) insured bank ‘upon any application, advance, . . .

 commitment, or loan.’”      United States v. Wells, 519 U.S. 482,

 490 (1997) (quoting 18 U.S.C. § 1014).          As noted by the Supreme

 Court, Section 1014 “makes a false statement to one of the

 enumerated financial institutions a crime only if the speaker

 knows the falsity of what he says and intends it to influence

 the institution.”     Id. at 499.    Unlike bank fraud, the

 government does not have to prove the materiality of the false

 statements made to Amalgamated.       Id. at 498-500; see also United

 States v. Autorino, 381 F.3d 48, 52 n.3 (2d Cir. 2004) (stating

 that the Supreme Court in Wells “ruled that a false statement

 need not be material to the decision at issue to give rise to a

 violation of § 1014.”).

            Under Section 2 of Title 18 of the Criminal Code, Mr.

 Dupree can be convicted of Counts Three and Four if he “aids,

 abets, counsels, commands, induces or procures” the commission

 of those crimes or “willfully causes an act to be done which if

 directly performed by him or another would” constitute those

 crimes.   18 U.S.C. § 2.     The Second Circuit has stated that this

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 “statute requires only that the underlying crime was committed

 by someone other than the defendant and that the defendant

 [him]self either acted or failed to act with the specific intent

 of advancing the commission of the underlying crime.”              United

 States v. Litwok, 678 F.3d 208, 213 (2d Cir. 2012) (internal

 quotation marks omitted).      Viewing the evidence in the light

 most favorable to the government and drawing all inferences in

 its favor, there was more than ample evidence from which a jury

 could find beyond a reasonable that Mr. Dupree knowingly made or

 aided and abetted the making of false statements in the BBCs and

 accompanying aging reports submitted to Amalgamated on January

 6, 2010 (Count Three) and May 24, 2010 (Count Four), for the

 purpose of securing advances on the Revolving Loan and

 influencing Amalgamated to maintain the Revolving Loan at the

 current levels.

            With respect to the false statement submitted to

 Amalgamated on January 6, 2010, which references the BBC for the

 Company’s books as of November 30, 2009 signed by Mr. Patello

 (GX 11 (DOJ-GDC-000005234)), the jury heard evidence that the

 “All Accounts Receivable” figure was falsely inflated by

 approximately $11 million with Mr. Dupree’s knowledge and at his

 direction.    Furthermore, the evidence at trial established that

 the accounts receivable figure for the November 30, 2009 BBC

 included, inter alia, $500,000 in fictitious Columbia sales and

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 $3 million in fake SCA sales, the latter of which Mr. Dupree

 knew about prior to the submission of the BBC because of the

 handwritten summaries that Mr. Patello provided him on a monthly

 basis.

            Similarly, with respect to the false statement

 submitted to Amalgamated on May 24, 2010, which references the

 BBC for the Company’s books as of April 30, 2010 (GX 11 (DOJ-

 GDC-000005236)), the jury heard recordings involving Mr. Dupree,

 Mr. Serrano, and Mr. Watts discussing prebilled or fictitious

 sales to include in that BBC.       Mr. Dupree also signed the April

 30, 2010 BBC himself, indicating that he was “intending that the

 Bank rely on [the BBC] in extending credit to the Company.”

 (Id.)    Moreover, in or around the time that the April 30, 2010

 BBC was submitted, Mr. Dupree specifically instructed Mr.

 Serrano to prebill to reach the financial numbers provided by

 Mr. Watts.    (Tr. 726-27.)    Indeed, six days before the April 30,

 2010 BBC was submitted, Mr. Dupree had a conversation with Mr.

 Serrano in which he specifically referenced prebilling and the

 “shit that’s going out,” instructed Mr. Serrano to have the $22

 million of Eligible A/R for the BBC ready by the “end of day,”

 and reassured Mr. Serrano that “once we get [past] this we’re

 never revisiting this shit again.”          ((GX 363 (Recording 3-4).)

 Finally, the government presented evidence of millions of

 dollars of false or inflated accounts receivable included in the

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 April 30, 2010 BBC associated with, inter alia, Zwicker,

 Henegan, and Bedford Stuyvesant.

            Even without this direct evidence of Mr. Dupree’s

 specific knowledge of the false statements in the BBCs for

 November 30, 2009 and April 30, 2010 and his intent to influence

 the actions of Amalgamated, the jury could certainly infer the

 requisite knowledge and intent from all the circumstantial

 evidence presented by the government at trial.               In particular,

 among other things, Mr. Dupree’s active role in supervising the

 submission of the BBCs as evidenced by Mr. Patello’s handwritten

 summaries, his participation in particular accounting decisions

 that falsely overstated the accounts receivable (see, e.g., the

 $2 million for Image Lighting, the $3 million for SCA, and the

 $1.375 million for the Staten Island Courthouse), and his

 continued concealment of the fraud from Amalgamated in the

 spring and summer of 2010, provided an ample basis for the jury

 to conclude beyond a reasonable doubt that Mr. Dupree is guilty

 of Counts Three and Four.

            This case can be analogized to United States v.

 Carboni, 204 F.3d 39 (2d Cir. 2000), where the Second Circuit

 affirmed a defendant’s convictions under Section 1014 for false

 statements similar to those at issue in this case.              In Carboni,

 a company called Cableco entered into a revolving loan agreement

 that enabled Cableco to borrow a percentage of “eligible”

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 accounts receivable and that required Cableco to submit

 borrowing base certificates reporting its eligible accounts

 receivable to the bank.      Id. at 42.        Under the terms of that

 revolving loan agreement, like the one at issue in this case,

 the bank could require Cableco to repay the amount by which a

 borrowing base certificate did not support the existing loan

 balance.   Id.   At some point, Cableco “began to engage in

 deceptive practices that increased the amounts it could borrow

 under its line of credit,” including by “pre-billed invoices,

 that is, it created invoices for items it had not yet shipped.”

 Id.   “Cableco then included these pre-billed invoices as

 eligible accounts receivable in daily borrowing base

 certificates that [the defendant] periodically reviewed before

 their submission to [the bank].”         Id.    Although the Second

 Circuit did not decide a Rule 29 motion in affirming defendant

 Carboni’s convictions under Section 1014, the Second Circuit

 noted that there was “overwhelming evidence” of Carboni’s guilty

 intent.    Id. at 45.   Like the evidence presented with respect to

 Mr. Dupree, the Second Circuit noted that the “overwhelming

 evidence” at trial in the Carboni case established that Carboni

 was (1) exposed to prebilled invoices in meetings, (2)

 responsible for what was to be billed; (3) reviewed the

 borrowing base certificates; (4) directed others to book false

 sales; and (5) that “Cableco pre-billed two large invoices

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 totaling over $130,000.”      Id. at 45.     Additionally, like Mr.

 Patello, Mr. Serrano, and Ms. Nusfaumer, in Carboni, a number of

 former Cableco employees including the comptroller “testified

 that Carboni knew about the pre-billed invoices and understood

 their effect on the base borrowing certificates.”             Id. at 43.

             Accordingly, for the reasons set forth above, the

 court finds that, like the Carboni case, the evidence presented

 by the government and viewed in its favor is more than

 sufficient to sustain Mr. Dupree’s conviction for Counts Three

 and Four, and Mr. Dupree’s Rule 29 motion is denied for those

 counts as well.

 VII. The Rule 33 Motions for a New Trial Due to Manifest
      Injustice

       A.    The Rule 33 Standard

             Rule 33(a) provides that “[u]pon the defendant’s

 motion, the court may vacate any judgment and grant a new trial

 if the interest of justice so requires.”          Fed. R. Crim. P.

 33(a).     “The defendant bears the burden of proving that he is

 entitled to a new trial under Rule 33, and before ordering a new

 trial pursuant to Rule 33, a district court must find that there

 is a real concern that an innocent person may have been

 convicted.”    United States v. McCourty, 562 F.3d 458, 475 (2d

 Cir. 2009) (internal quotation marks omitted); see also United

 States v. Bell, 584 F.3d 478, 483 (2d Cir. 2009) (“‘The test is

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 whether it would be a manifest injustice to let the guilty

 verdict stand.’” (quoting United States v. Sanchez, 969 F.2d

 1409, 1414 (2d Cir. 1992))).       “While [the Second Circuit]

 generally allow[s] district courts greater deference to grant a

 new trial under Rule 33 than to grant a motion for acquittal

 under Rule 29, courts must nonetheless exercise Rule 33

 authority sparingly and in the most extraordinary

 circumstances.”    United States v. Cote, 544 F.3d 88, 101 (2d

 Cir. 2008) (internal quotation marks omitted).

       B.   Application

            Mr. Dupree presents two principal arguments for why he

 is entitled to a new trial:      (1) it was manifestly unjust for

 the government to present evidence regarding the Image

 Transaction because the jury could not find as a matter of law

 that GDC bought Image Inc. in violation of the Loan Agreement

 (Dupree Mem. 51-56; Dupree Reply at 9-12); and (2) prosecutorial

 misconduct, including improper contact with a court reporter,

 improper coaching of witnesses by the government, and Mr.

 Serrano’s role as a government agent (Dupree Mem. at 56-59;

 Dupree Reply at 13-20).      Both of these arguments will be

 discussed in turn.

            1.    The Image Transaction

            Even assuming that Mr. Dupree is correct that the jury

 could not find as a matter of law that GDC bought Image Inc. in

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 violation of the Loan Agreement,20 there is still no basis for

 granting Mr. Dupree a new trial.

             First, although the S-2 Indictment alleges that the

 scheme to defraud involved, inter alia, “defraud[ing]

 Amalgamated by having GDC purchase Image Lighting Inc. covertly,

 contrary to the terms of the [Loan] Agreement, and by concealing

 the purchase from Amalgamated Bank” (S-2 Indictment ¶ 15)

 (emphasis added), there was no prejudicial variance.              “A

 variance is immaterial - and hence not prejudicial – where the

 allegation and proof substantially correspond, where the

 variance is not of a character that could have misled the

 defendant at the trial, and where the variance is not such as to

 deprive the accused of his right to be protected against another

 prosecution for the same offense.”          United States v. LaSpina,

 299 F.3d 165, 183 (2d Cir. 2002) (internal quotation marks

 omitted).    As summarized above, the evidence at trial

 established that Mr. Dupree made efforts to covertly purchase

 the assets of Image Inc. using a straw company that he directed

 Mr. Foley to create for that purpose, TDC, which is wholly-owned

 by GDC, and to conceal the Image Transaction from Amalgamated.
             20
                The government presented sufficient evidence that the Image
 purchase was a violation of the Loan Agreement. For example, Mr. Jarvis
 testified that the consolidation of one of the Borrower Subsidiaries with a
 multi-million dollar company in another state would be a violation of § 6.03
 of the Loan Agreement. (Tr. 2150.) There was evidence at trial that,
 although the assets of Image Inc. were purchased by TDC and the employees of
 Image Inc. were hired by Image Lighting, which is owned by TDC, Image Inc.
 was essentially consolidated or merged into JDC Lighting, one of the Borrower
 Subsidiaries.

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 This is a fraud case and not a contract case, and a breach of

 the Loan Agreement does not by itself constitute a crime.               The

 jury, however, could infer from the evidence that Mr. Dupree –

 whether correctly or incorrectly – believed that the Image

 Transaction violated the Loan Agreement and that he concealed

 the Image Transaction with the intent to defraud Amalgamated and

 to expose it to actual or potential loss.21          Accordingly, the

 evidence at trial substantially corresponded with the

 allegations in the S-2 Indictment and Mr. Dupree could not and

 was not misled at trial.

             Second, Mr. Dupree was not prejudiced because he was

 permitted to – and did – argue to the jury that the Image

 Transaction did not violate the Loan Agreement, both in his

 opening and closing statements.        (See, e.g., Tr. 322-24

 (Opening:    “They charge Image. . . .       Image is a purchase of

 assets and that’s it. . . .       [W]hat we’re going to show you is a

 provision that specifically allows [the Image transaction], that

 specifically allows [the Company] to expand.”), Tr. 4152
             21
                Even if it was legally impossible for the Image transaction to
 violate the Loan Agreement, Mr. Dupree’s mistaken belief that the Image
 transaction would violate the Loan Agreement is no defense to bank fraud so
 long as Mr. Dupree possessed the requisite intent. See United States v.
 Boisvert, No. 11-4206-cr, 2012 U.S. App. LEXIS 20966, at *3 (2d Cir. Oct. 10,
 2012) (summary order) (“Courts that have distinguished legal from factual
 impossibility confine the former to situations where the actions set in
 motion by defendant, ‘even if fully carried out as he desires, would not
 constitute a crime.’”); id. (citing United States v. Coffman, 94 F.3d 330,
 333 (7th Cir. 1996) (Posner, J.) (“recognizing that, although it is not a
 criminal attempt to try to do what the criminal law does not forbid you to
 do, attempt is nevertheless criminal where if completed in accordance with
 the defendant’s understanding of the circumstances [it] would have resulted
 in a crime” (internal quotation marks omitted))).

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 (Closing:   “[K]eep in mind that what has happened with the

 purchase of Image not only was perfectly proper, it was told to

 the government.”).)     Moreover, the jury was instructed that the

 allegations in the S-2 Indictment, including the reference to a

 violation of the Loan Agreement, are not evidence or proof of

 guilt.   (Tr. 258, 4255-56.)     The jury was thus entirely free to

 accept or disregard the government’s and Mr. Dupree’s arguments

 regarding the Image Transaction.

             Finally, assuming that all of the evidence regarding

 the Image Transaction was improperly admitted, which it was not,

 there was still ample evidence at trial regarding the other

 aspects of the scheme to defraud alleged in the S-2 Indictment

 to sustain Mr. Dupree’s conviction.         The government correctly

 argues that it was not required to prove every aspect of the

 scheme to defraud alleged in the S-2 Indictment in order to

 satisfy it burden as to Mr. Dupree’s guilt.           (Gov’t Opp’n at

 42); see United States v. Walker, 254 F. App’x 60, 62-63 (2d

 Cir. 2007) (summary order) (“[T]he jury was not required to find

 every aspect of the scheme [to defraud] in order to convict

 [defendant of bank fraud], so long as it found the essential

 elements of that scheme.” (citing United States v. Amrep Corp.,

 560 F.2d 539, 546 (2d Cir. 1977) (distinguishing the existence

 of a scheme to defraud from the “means adopted to effectuate

 that scheme,” and holding that the government need not prove

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 every means charged in the indictment so long as “there is

 sufficient overall proof that the scheme exists” (internal

 quotation marks omitted)))); see also United States v. Miller,

 471 U.S. 130, 136 (1985) (“The Court has long recognized that an

 indictment may charge numerous offenses or the commission of any

 one offense in several ways.”).       The allegations regarding the

 Image Transaction, consisting of two sentences (S-2 Indictment

 ¶ 15), constitute only one aspect of the complex scheme to

 defraud alleged in the S-2 Indictment, which spans a total of

 ten paragraphs (id. ¶¶ 8-17).       As demonstrated above, putting

 aside the evidence regarding the Image Transaction, there was

 still sufficient evidence presented at trial for the jury to

 find beyond a reasonable doubt that Mr. Dupree knowingly

 participated in a scheme to defraud Amalgamated.             Accordingly,

 the court finds that Mr. Dupree has not sustained his burden for

 a new trial based on the government’s presentation of evidence

 that the Image Transaction violated the Loan Agreement.

            2.    Prosecutorial Misconduct

            Mr. Dupree essentially uses his Rule 33 motion to

 rehash the litany of arguments that he has made from the

 beginning of this case that the government has engaged in

 misconduct, and which the court has painstakingly and repeatedly

 addressed in several decisions, both in written and oral

 decisions prior to trial and orally at trial,            See, e.g., United

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 States v. Dupree, 781 F. Supp. 2d 115, 160-66 (E.D.N.Y. 2011)

 (denying motion to dismiss indictment based on various

 allegations of prosecutorial misconduct); United States v.

 Dupree, 833 F. Supp. 2d 255, 269-72 (E.D.N.Y. 2011) (precluding

 testimony regarding allegations of prosecutorial misconduct).

            The court will however address Mr. Dupree’s specific

 allegations of prosecutorial misconduct that occurred at trial,

 none of which merit a new trial under Rule 33.               First, Mr.

 Dupree argues that the government improperly approached a court

 reporter regarding making corrections to a transcript.               (Dupree

 Mem. at 56 n.11.)     The government does not dispute that it

 brought certain transcript errors to a court reporter’s

 attention, and the court reporter subsequently produced a

 revised transcript with the corrections to Mr. Dupree, who has

 never contested any portion of the transcript.               (Gov’t Opp’n at

 43-45.)   The defendant thus cannot now argue that he was somehow

 prejudiced by the government’s conduct with respect to the court

 reporter, and certainly cannot argue that such prejudice

 warrants a new trial.

            Second, Mr. Dupree alleges that the government

 improperly instructed two postal inspectors that were going to

 testify at trial to materially change their testimony.               (See

 Dupree Mem. at 56 n.11.)      Even if Mr. Dupree’s allegations are

 true, which the government disputes (see Gov’t Opp’n at 43-47),

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 the postal inspectors did not testify at trial and thus Mr.

 Dupree could not have been prejudiced.

            Third, Mr. Dupree argues once again that Mr. Serrano

 was acting as a government agent when he accessed Mr. Patello’s

 emails that he provided to the government and when he created

 wholly fictitious invoices in May 2010.          (Dupree Mem. at 57-59.)

 As the court ruled at trial on December 27, 2011, even if Mr.

 Serrano was acting as a government agent, suppression of the

 emails he collected was not warranted because Mr. Dupree did not

 have a legitimate expectation of privacy in emails that he gave

 Mr. Serrano permission to access and view.            (Tr. 3983-95.)

 Moreover, Mr. Serrano specifically testified that he was acting

 at the direction of Mr. Dupree and Mr. Watts when he engaged in

 prebilling, both before and after Mr. Serrano approached the

 FBI, and that the FBI merely instructed him to continue working

 at GDC in the normal course, which Mr. Serrano did.             (Tr. 697-

 700, 1086, 1093.)     The crux of Mr. Dupree’s Rule 33 motion with

 respect to Mr. Serrano is that “Counts Three and Four rest

 solely on fabricated invoices created by Mr. Serrano of which

 Mr. Dupree had no knowledge.”       (Def. Mem. at 58.)        As discussed

 at length above, there was more than ample evidence, not the

 least of which includes Mr. Serrano’s testimony and Mr. Dupree’s




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 emails and recorded conversations, to support Mr. Dupree’s

 conviction on Counts Three and Four.22

             The court has considered all of the other instances of

 prosecutorial misconduct alleged by Mr. Dupree, both separately

 and together, and finds that Mr. Dupree has not satisfied his

 burden in establishing that a new trial is warranted.              Indeed,

 based on the evidence at trial, there are no extraordinary

 circumstances here and this is not a situation where “there is a

 real concern that an innocent person may have been convicted.”

 McCourty, 562 F.3d at 475.       Accordingly, the court denies Mr.

 Dupree’s Rule 33 motions.

 VIII.       The Motion to Amend the Rule 33 Motion To Allege
             Prosecutorial Misconduct Based on Perjured Testimony

             In a motion filed on July 11, 2012, more than six

 months after the guilty verdict, Mr. Dupree moved to “amend” his

 Rule 29 and 33 motions for a new trial on the ground that the

 government elicited perjured testimony by Chris Petrellese, a

 forensic accountant with the FBI, when he was called by Mr.

 Dupree as a witness after the jury verdict finding Mr. Dupree

 guilty and during the forfeiture phase of the trial.              (Tr. 4380-

 81, 4436; see ECF No. 560.)       At the outset, the court notes that

 because this alleged perjured testimony occurred after the
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                Mr. Dupree also summarily argues that he was unable to fully
 cross-examine Mr. Serrano regarding his actions pursuant to FBI instructions.
 (Dupree Mem. at 58.) To the contrary, Mr. Dupree cross-examined Mr. Serrano
 extensively regarding his dealings with the FBI. (See, e.g., Tr. 916-922,
 926, 978-79, 1020-22, 1086, 1093-94, 1122-23.)

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 guilty verdict and during the forfeiture phase of the trial,

 such testimony could not have had any effect on the jury’s

 guilty verdict but only could have factored into the jury’s

 special verdict for forfeiture.       Therefore, although Mr. Dupree

 fashioned his motion as an “amendment” to both his Rule 29 and

 Rule 33 motions, the court construes his amendment as a Rule 33

 motion for a new trial as to the forfeiture verdict only, which

 appears to be what Mr. Dupree is requesting.           (See Dupree Amdt.

 at 10.)   Even if, however, this alleged perjured testimony is

 considered together with the other grounds for a new trial

 considered above, the court finds that no new trial as to guilt

 or forfeiture is warranted.

            Mr. Dupree essentially argues that the government

 knowingly elicited false testimony from Mr. Petrellese because

 his testimony during the forfeiture phase of trial contradicted

 his prior testimony at the May 13, 2011 hearing held before

 Magistrate Judge Azrack pursuant to United States v. Monsanto,

 924 F.2d 1186 (2d Cir. 1991) (the “Monsanto Hearing”).              (See ECF

 No. 577-2, Transcript of Monsanto Hearing held on May 13, 2011

 (“Monsanto Tr.”).)     Specifically, Mr. Dupree alleges that during

 the Monsanto Hearing, Mr. Petrellese testified that he was

 unable to tell which fraction, if any, of the Amalgamated loan

 proceeds went to a GDC subsidiary called Unalite Southwest

 (“USW”), whereas at trial he testified that USW was a net

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 borrower in that it needed loan proceeds to operate its

 business.    (Dupree Amdt. at 6-7.)

             Before addressing the merits of Mr. Dupree’s new

 motion, the court will first address its timeliness.              Rule 33

 requires that a motion on any ground “other than newly

 discovered evidence must be filed within 14 days after the

 verdict or finding of guilty.”23        Fed. R. Crim. P. 33(b)(2).          The

 court granted Mr. Dupree an extension of time until January 20,

 2012 to file his initial Rule 29 and Rule 33 motions.              (Order

 dated Jan. 10, 2012.)       Nevertheless, the time limitations

 specified in Rule 33 are subject to the time modification

 provisions of Federal Rule of Criminal Procedure 45, which

 permit a court to extend the time for “good cause . . . if the

 party failed to act because of excusable neglect.”             Fed. R.

 Crim. P. 45(b)(1)(B); see United States v. Owen, 559 F.3d 82,

 83-84 (2d Cir. 2009).       Although Rule 45 does not define

 “excusable neglect,” “courts apply an equitable test that

 considers all relevant circumstances, including:             (1) the danger

 of prejudice to the non-moving party, (2) the length of delay


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                Mr. Dupree does not argue, nor could he, that his new Rule 33
 motion is based on newly discovered evidence, which would permit him to file
 it within three years after the guilty verdict. See Fed. R. Crim. P.
 33(b)(1). Indeed, if that were the case, the “newly discovered evidence”
 would have to be the transcript of the Monsanto hearing in this very case, a
 hearing that Mr. Dupree’s counsel attended and was certainly aware of, not
 the least because his counsel questioned Mr. Petrellese during the forfeiture
 phase of the trial regarding his Monsanto testimony. (See Tr. 4439.) Such
 evidence surely cannot fit the definition of “newly discovered.”


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 and impact on judicial proceedings, (3) the reason for the

 delay, including whether it was within the reasonable control of

 the moving party, and (4) whether the moving party acted in good

 faith.”   United States v. Sabir, 628 F. Supp. 2d 414, 417

 (S.D.N.Y. 2007); accord Pioneer Inv. Servs. v. Brunswick Assocs.

 Ltd. P’ship, 507 U.S. 380, 395 (1993).

            Here, Mr. Dupree filed this new Rule 33 motion more

 than six months after the guilty verdict, and therefore he must

 establish that his failure to file it by the court’s deadline of

 January 20, 2012 was the product of excusable neglect.              Mr.

 Dupree argues that he only recently became aware of the perjured

 testimony by Mr. Petrellese because his counsel was only an

 “observer” at the Monsanto hearing, and because defense counsel

 “did not have the opportunity or reason to review Mr.

 Petrellese’s [Monsanto] testimony prior to trial” based on the

 understanding that the forfeiture portion of the trial would be

 bifurcated and that defense counsel would have adequate time to

 prepare for Mr. Petrellese’s testimony during the forfeiture

 phase if there was a guilty verdict.         (Dupree Amdt. at 3.)

 Defense counsels’ claim - that their ability to review Mr.

 Petrellese’s prior testimony was “non-existent” (id.) - is

 directly contradicted by the trial record.           Indeed, defense

 counsel specifically asked Mr. Petrellese the following question

 on direct examination during the forfeiture phase of trial:

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 “Then at the hearing on May 13, 2011 before Judge Azrack, do you

 remember your testimony that no funds were ever transferred from

 the concentration account at Amalgamated Bank to any of the USW,

 meaning Unalite Southwest JP Morgan Chase accounts?”              (Tr.

 4439.)   Further, on redirect examination, defense counsel asked

 Mr. Petrellese two more questions regarding his testimony at the

 Monsanto Hearing, both also regarding USW.           (Tr. 4444-45.)

 Given that defense counsel had clearly reviewed Mr. Petrellese’s

 Monsanto testimony prior to his testimony during the forfeiture

 phase of trial, they should have addressed any allegations of

 perjury during their redirect examination when it could have

 been corrected, and not now, six months later.

            Based on (1) defense counsel’s attendance at the May

 13, 2011 Monsanto Hearing in which Mr. Petrellese was the sole

 witness, (2) the government’s notice as early as March 2011 and

 again in October 2011 that Mr. Petrellese would be a government

 witness (see ECF Nos. 148, 404), (3) Mr. Petrellese’s testimony

 during the guilt phase of trial, and (4) defense counsel’s own

 questions during the forfeiture phase of trial that reference

 Mr. Petrellese’s Monsanto testimony, the court finds it

 troubling that Mr. Dupree’s counsel – members of a large

 corporate law firm - have even attempted to argue that they were

 unable to review Mr. Petrellese’s prior testimony until

 approximately July 2012, when Mr. Dupree first alerted the court

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 of this new motion.     Indeed, even if defense counsel was not

 present at the Monsanto Hearing, defense counsel certainly

 should have reviewed a potential trial witness’s prior sworn

 testimony in the same case prior to cross-examining him during

 the guilt phase of trial or calling him as a defense witness

 during the forfeiture phase of trial, particularly when the

 transcript of Mr. Petrellese’s prior testimony was only 40 pages

 long.   Although there is limited prejudice to the government

 from deciding this new motion by Mr. Dupree, based on the

 significant six-month delay, the lack of any reason – let alone

 any good reason - for the delay, which was entirely within Mr.

 Dupree’s control, and the questionable good faith that defense

 counsel has exhibited in arguing that this motion is timely, the

 court finds that Mr. Dupree has not satisfied his burden in

 establishing excusable neglect.       The court therefore finds that

 Mr. Dupree’s Rule 33 motion based on allegedly perjured

 testimony by Mr. Petrellese is untimely.

            Even if the court found that Mr. Dupree’s new Rule 33

 motion was timely, it would also fail on the merits.              In

 determining a Rule 33 motion based on allegations of

 prosecutorial misconduct and perjured testimony, the defendant

 must show that (1) the witness actually committed perjury; (2)

 the alleged perjury was material; (3) the government knew or

 should have known of the perjury at the time of trial; and (4)

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 the perjured testimony remained undisclosed or uncorrected

 during trial.    United States v. Uganda Nash, 338 F. App’x 96, 99

 (2d Cir. 2009) (quoting United States v. Josephberg, 562 F.3d

 478, 494 (2d Cir. 2009)).      Depending on whether or not the

 government knew or should have known of the alleged perjury,

 there are two standards:

       If the prosecution knew or should have known of the
       perjury prior to the conclusion of the trial, the
       conviction must be set aside where there is any
       reasonable likelihood that the false testimony could
       have affected the judgment of the jury. . . . On the
       other hand, if the prosecution was not aware of the
       perjury, a defendant can obtain a new trial only where
       the false testimony leads to a firm belief that but
       for the perjured testimony, the defendant would most
       likely not have been convicted.

 United States v. Stewart, 433 F.3d 273, 297 (2d Cir. 2006)

 (citations omitted) (internal quotation marks omitted); see also

 Truman, 688 F.3d at 141 (“Even in cases involving a witness’s

 perjured testimony, however, a new trial is warranted only if

 ‘the jury probably would have acquitted in the absence of the

 false testimony.’”).

            Here, Mr. Dupree cannot establish that Mr.

 Petrellese’s testimony during the forfeiture phase of trial was

 perjured, or even if it was perjured, that it was material.

 First, in the portion of the Monsanto hearing cited by Mr.

 Dupree, Mr. Petrellese testified that the Amalgamated loan

 proceeds were commingled in the Concentration Account at


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 Amalgamated with other funds, and that he could not determine

 the exact amount of the loan proceeds in the Concentration

 Account that were deposited into the accounts of USW or any

 other GDC subsidiary.       (Monsanto Tr. 32-33.)      Mr. Petrellese,

 however, further testified at the Monsanto Hearing that he could

 “follow[] the flow of the money” and determine the trail of

 funds in and out of particular accounts on an aggregate basis,

 even if he could not determine whether any particular dollar was

 attributable to the loan proceeds.          (Id. at 33-34 (“The funds

 were mixed together, I can’t say dollar for dollar, from this

 place went to that place, I just know collectively this much

 went into these accounts and this much went out.”).)              This

 testimony is not inconsistent with Mr. Petrellese’s testimony at

 trial that two USW accounts at Amalgamated received $700,000

 more money from the Concentration Account that was commingled

 with loan proceeds, than they paid into the Concentration

 Account, thus leading to the conclusion that, with respect to

 these accounts, USW borrowed $700,000 more on the Amalgamated

 loan than it contributed to the Concentration Account.              (Tr.

 4441-43; GX 343.)     Additionally, in response to defense

 counsel’s questions, Mr. Petrellese reaffirmed his testimony at

 trial that no loan proceeds from the Concentration Account were




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 deposited in the USW account at J.P. Morgan Chase.             (Tr. 4444-

 46.)24

            Second, even if Mr. Petrellese’s testimony during the

 forfeiture phase was perjured, which it was not, Mr. Dupree has

 not established that it was material.         Indeed, it was Mr. Dupree

 who called Mr. Petrellese as a witness, not the government, and

 the jury certainly could have reached its special verdict on

 forfeiture without his testimony.         As the government correctly

 argues, Mr. Patello’s testimony during the forfeiture phase and

 the evidence presented in the guilt phase of trial established

 that the start-up costs for USW were paid for by Amalgamated

 loan proceeds, and that GDC and its subsidiaries had negative

 cash flow from operations in 2009, which were funded by the

 Amalgamated loan proceeds.       (See Gov’t Opp’n to Dupree Amdt. at

 7 (citing Tr. 2414-18, 2447-50, 4443; GX 301, GX 302).)

 Accordingly, the alleged perjury by Mr. Petrellese was not

 material to the jury’s special verdict on forfeiture.

            Because the court has found that the alleged perjured

 testimony by Mr. Petrellese was not perjury, and even it was, it


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                Mr. Dupree also argues that Mr. Petrellese testified at the
 Monsanto hearing that $700,000 from a USW account at J.P. Morgan Chase that
 was transferred to the USW accounts at Amalgamated was used to pay the
 expenses of other GDC subsidiaries. (Dupree Amdt. at 6-7 (citing Monsanto
 Tr. 37-39).) Even though Mr. Dupree’s argument does not appear to be
 established by the cited Petrellese testimony, assuming it is true, Mr.
 Dupree fails to explain how this testimony, which involves payments
 ultimately from a USW account at J.P. Morgan Chase, contradicts his testimony
 during the forfeiture phase at trial, which was regarding USW accounts at
 Amalgamated.

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 was not material, the court need not address whether the

 government knew or should have known that the testimony was

 perjured.    Accordingly, for the reasons set forth above, and

 because Mr. Petrellese’s allegedly perjured testimony could not

 have affected Mr. Dupree’s guilty verdict and was not material

 to the forfeiture verdict, the court denies his Rule 33

 challenge on this ground as well.

                                 CONCLUSION

             For the reasons set forth above, the court denies Mr.

 Dupree’s Rule 29 motion for a judgment of acquittal, or

 alternatively, his Rule 33 motion for a new trial.             The

 sentencing of Mr. Dupree shall proceed on December 17, 2012 at

 11:00 AM, as scheduled.

             SO ORDERED.

 Dated:      October 25, 2012
             Brooklyn, New York

                                          __________/s/________________
                                          KIYO A. MATSUMOTO
                                          United States District Judge
                                          Eastern District of New York




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